            Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 1 of 96




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 JOSEPH A. DAOU and KAREN M. DAOU,                      Civ. Action No. 1:20-cv-4438-DLC

                                 Plaintiffs,            JURY TRIAL DEMANDED

                   vs.

 BLC BANK, S.A.L., CREDIT LIBANAIS, S.A.L.,
 AL-MAWARID BANK, S.A.L., and BANQUE
 DU LIBAN,

                                 Defendants.



                                 FIRST AMENDED COMPLAINT

           Plaintiffs Joseph A. Daou and Karen M. Daou, by their undersigned counsel and for their

complaint against Defendants, allege as follows:

                                         INTRODUCTION

           1.     Plaintiffs Joseph A. Daou and Karen M. Daou are married United States citizens

who deposited hard earned United States dollars (“USD”) in three Lebanese banks, only to be

preyed upon by the Ponzi scheme that is the Lebanese banking system.

           2.     Defendant Banque Du Liban (“BDL”) is the central bank of Lebanon and the

architect of the Ponzi scheme. In the 1990s, as Lebanon emerged from its devastating fifteen-year

civil war, a dual currency system formed with the USD and Lebanese Lira (the “Lira”) both being

used widely. The two currencies were not pegged, however, causing massive swings in the

exchange rate and chaos in the Lebanese economy.

           3.     In an attempt to solve the problem, the then and current BDL Governor, Riad

Salameh, engineered the pegging of the exchange rate at 1507.51515 Lira to $1 USD. To support


262002.2
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 2 of 96




the artificial pegging of the exchange rate, BDL and the Lebanese government sought to encourage

foreign currency investment, particularly USD, which ultimately became the dominant deposit

currency in Lebanon.

       4.      Lebanese banks lured investments of USD with high interest rates, strong

correspondent banking relationships in New York, and sophisticated banking services.

       5.      The shareholders and executives of the commercial banks, many of whom served

in high levels of the government, portrayed the banking system as strong and flourishing, and they

received rich distributions and salaries.

       6.      In reality, the interest rates were unsustainable, and placed the commercial banks

in jeopardy once new deposits ebbed and depositors sought to remove their USD from the

commercial banks.

       7.      BDL was also vulnerable as a result of the strain on the commercial banks which

deposit USD with BDL to provide it with liquidity.

       8.      By early 2015, Lebanese banks began recognizing depleting USD deposits, which

strained the system as the banks’ interest obligations increased.

       9.      BDL and the commercial banks needed to adjust their business model, which would

have revealed the false premise on which BDL engineered the banking system and the shareholders

and executives of the commercial banks would have no longer been able to enrich themselves to

same extent.




                                                 2
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 3 of 96




       10.     Because BDL and the commercial banks were intent on keeping a curtain over the

growing problem so they could continue to enrich themselves notwithstanding the unsustainability

of their policies, they did not alter their business model.

       11.     Instead, BDL and the commercial banks agreed that they would engage in an illegal

scheme to cover up and delay the self-created and looming crisis, all so that they could cover up

their failed policies and continue enriching themselves.

       12.     BDL and the commercial banks, including the defendant-commercial banks, agreed

they would offer even higher interests to lure new deposits and to induce depositors to retain their

deposits in Lebanon, knowing the banks could never sustain the interest payments. BDL and the

commercial banks agreed they would project strength and health for the Lebanese banking system

they knew was facing an imminent liquidity crisis.

       13.     The conspirators agreed to specifically target people of Lebanese descent living

abroad, particularly United States citizens and residents.

       14.     They agreed to use illegal means to carry out their conspiracy, including by making

fraudulent misrepresentations and theft, all so the BDL executives and the shareholders and

executives could further enrich themselves at the expense of their victims, which included

depositors, borrowers and Lebanon.

       15.     The commercial banks used the Lebanon Association of Banks to coordinate their

scheme with each other and BDL and to communicate instructions for carrying out the scheme.

The Association of Banks may have once been a legitimate organization of the chief executives of

the commercial banks in Lebanon, but the commercial banks and BDL started to use it as an

instrumentality of their unlawful scheme.

                                                  3
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 4 of 96




       16.     In furtherance of their scheme, Lebanese banks began offering extremely high

interest rates to attract USD depositors both within Lebanon and abroad to feed the failing system

and further their scheme. Upon inducing depositors to deposit their USD in Lebanon, depositors

were then induced to convert the USD into Lebanese Lira, in return for which the depositors were

promised even higher (and even more unsustainable) interest rates.

       17.     As the Lebanese banks and BDL planned, and as the depositors would soon learn,

the Lira was about to become highly devalued, and nearly worthless.

       18.     Once the depositors converted their USD to Lira, they were left with no alternative

other than a complete devaluation of the Lebanese Lira and to completely erase any of the

remaining value held by these depositors. While BDL advertises an “official” exchange rate of

approximately 1,507 Lira to $1 USD, the true exchange rate has been fluctuating between 7,000

to 10,000 Lira to $1 USD.

       19.     While Lebanon’s commercial banks (and those benefiting from their association

with, and employment by, these banks) were able to continue to hoard valuable USD, depositors

who exchanged their USD into Lira were left with an almost worthless local Lebanese currency.

       20.     When certain depositors, like Plaintiffs, refused to convert their USD to Lira, the

Lebanese commercial banks and BDL conspired to issue worthless checks that could not be

deposited anywhere outside of Lebanon, including in the United States. The depositors’ USD

cannot be withdrawn or collected outside of Lebanon (nor can it be withdrawn or collected within

Lebanon).




                                                4
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 5 of 96




        21.     The end result for victims of this enterprise is that, while BDL and Lebanon banks

continue to hold USD in deposit within the Lebanese banking system, the victims have no way to

access their hard-earned USD anywhere in the world.

        22.     BDL and the commercial banks knew that the payment of the inflated interest rates

was unsustainable, and when the flood of new USD deposits waned, the Lebanese banking system

collapsed.

        23.     The conspirators’ scheme engineered the theft of tens of billions of dollars from

over two and a half million people, including thousands of United States citizens and residents.

        24.     When the Lebanese banks could not induce sufficient new deposits to pay their

obligations, the banks hoarded the USD deposits of many of their depositors by lying to induce

customers to retain their deposits. Ultimately, the banks refused lawful withdrawal requests from

their depositors. At the same time, the Lebanese banks discriminatorily permitted politically

connected depositors, bank executives, bank shareholders, and their relatives to offshore their

USD, which of course only exacerbated the self-inflicted liquidity crisis. The Ponzi scheme had

collapsed, and BDL and the Lebanese banks resorted to outright theft of their depositors’ USD.

        25.     By mid-2019, the Lebanese banks were actively colluding with BDL and using the

Association of Banks to institute unlawful, draconian, and discriminatory capital controls and

restrictions on withdrawals of USD and transfers of USD outside Lebanon.

        26.     Lebanon’s banking crisis has driven the Lebanese banking system to place its own

USD hoarding above the rule of law in flagrant violation of the rights of depositors and foreign

investors like Plaintiffs.



                                                5
00
            Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 6 of 96




       27.      At the same time, Lebanese politicians, bank shareholders, executives, owners, and

board members (many of whom are parliament members and former ministers of Lebanon’s

government), bank employees, and other influential people and companies were permitted by BDL

and the Lebanese banks to safely offshore their USD. This self-destructive corruption exacerbated

the liquidity crisis in the Lebanese banking system, and is the subject of ongoing investigations

and political unrest within Lebanon.

       28.      Defendants BLC Bank S.A.L. (“BLC Bank”), Credit Libanais, S.A.L. (“CL

Bank”), and AL-Mawarid Bank, S.A.L. (“AM Bank”) are large commercial and retail banks in

Lebanon which were among the chief perpetrators of the Ponzi scheme BDL designed.

       29.      Starting with misconduct that began in 2016 and continues to this day, Defendants

victimized Plaintiffs of more than $18,500,000.00 USD in principal and accrued interest from

Plaintiffs’ accounts in Lebanon, which caused Plaintiffs tens of millions of dollars in damages

above and beyond the stolen deposits. In addition, under both applicable state and federal law and

as described below, Plaintiffs are entitled to treble damages, attorneys’ fees and costs.

       30.      BLC Bank, CL Bank, and AM Bank targeted and solicited Plaintiffs to make USD

deposits.

       31.      BLC Bank, CL Bank, and AM Bank promised Plaintiffs high interest rates on

Plaintiffs’ USD deposits to induce Plaintiffs to make the deposits, even though the banks knew

their scheme was unsustainable.

       32.      To amass USD deposits and to effectuate USD transactions, including for Plaintiffs,

BLC Bank, CL Bank, and AM Bank all maintain correspondent bank accounts in New York at

large United States banks.

                                                 6
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 7 of 96




       33.     As Plaintiffs advised all three banks, Plaintiffs needed the ability to readily transfer

their USD from Lebanon to their accounts in the United States so they could conduct business and

execute on investments. In 2019, Plaintiffs specifically advised all three banks that they needed

to transfer their USD to satisfy Plaintiffs’ funding obligations for three highly valuable real estate

acquisitions in the United States.

       34.     Therefore, Plaintiffs agreed with BLC Bank, CL Bank and AM Bank that Plaintiffs’

accounts would have short-term maturity dates of one month, and the banks would pay Plaintiffs

interest averaging approximately ten percent. Such interest rates are enormous relative to the

United States, but Lebanese banks, including BLC Bank, CL Bank, and AM Bank, were offering

interest rates in the high teens to depositors willing to make longer-term deposits for several

months or years. However, because Plaintiffs needed ready access to their USD, Plaintiffs insisted

on having short-term maturity dates of one month.

       35.     BLC Bank, CL Bank and AM Bank all knew Plaintiffs intended to transfer their

USD to the United States.

       36.     However, unbeknownst to Plaintiffs, BDL, BLC Bank, CL Bank and AM Bank,

among other Lebanese banks, had collusively agreed to violate the rights of USD depositors by

preventing the depositors from withdrawing their USD or transferring their USD outside Lebanon.

       37.     By the end of 2019, Plaintiffs had more than $18,000,000.00 USD on deposit across

their bank accounts in Lebanon.

       38.     When Plaintiffs delivered instructions to BLC Bank, CL Bank and AM Bank to

initiate wire transfers of Plaintiffs’ USD to Plaintiffs’ accounts in the United States, the banks at

first ostensibly agreed to make the transfers.

                                                  7
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 8 of 96




       39.      BLC Bank, CL Bank and AM Bank then asked for additional time to execute the

wire transfers, and they repeatedly assured Plaintiffs the wire transfers had been approved and

would be forthcoming.

       40.     BLC Bank, CL Bank and AM Bank’s representations to Plaintiffs that Plaintiffs

could transfer their USD outside Lebanon were knowingly false when made. BLC Bank, CL Bank

and AM Bank had no intention of permitting Plaintiffs to transfer their USD outside Lebanon.

Rather, the banks were stalling while they unlawfully misappropriated Plaintiffs’ USD.

       41.     As the Lebanese banks had no grounds for refusing depositors’ instructions to

transfer USD outside Lebanon, BDL and the banks entered into a conspiracy in which they agreed

to make fraudulent misrepresentations to Plaintiffs, issue worthless checks to Plaintiffs in the

United States that Defendants had no intention of honoring, and, despite the fact that they were

knowingly issuing worthless checks to Plaintiffs, reducing Plaintiffs’ balances as if Plaintiffs had

actually received their USD. Like many perpetrators of a Ponzi scheme, Defendants’ desperation

to keep afloat drove them to blatantly unlawful activity against Plaintiffs.

       42.     BLC Bank, CL Bank and AM Bank are all large creditors of BDL, having deposited

billions of USD with BDL. As part of BDL’s repayment of its debts owed to BLC Bank, CL Bank

and AM Bank, BDL allows the banks to issue cashier’s checks drawn by BDL against BDL to

satisfy obligations the banks owed to third parties.

       43.     BLC Bank, CL Bank, and AM Bank all represented to Plaintiffs that they had the

authority to issue checks drawn on BDL in order to provide Plaintiffs with their USD in the United

States. BLC Bank, CL Bank, and AM Bank all represented to Plaintiffs that the banks maintained

USD on deposit with BDL to cover the amounts of checks drawn on BDL, and that BDL would


                                                 8
00
          Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 9 of 96




thus make good on checks signed and issued by the banks to depositors or other payees, like

Plaintiffs.

        44.    In furtherance of their conspiracy, BDL and the banks utilized their own debtor-

creditor relationship to coerce Plaintiff to accept illusory checks BDL and the banks would never

honor in lieu of the wire transfers Plaintiffs requested and to which Plaintiffs were entitled.

        45.    Ultimately, after weeks and months of Plaintiffs repeatedly and desperately

pleading for BLC Bank, CL Bank and AM Bank to follow Plaintiffs’ binding instructions to

execute wire transfers of Plaintiffs’ USD on deposit in Lebanon to Plaintiffs’ accounts in the

United States, BLC Bank, CL Bank and AM Bank, in collusion with BDL, all tried to coercively

persuade Plaintiffs to accept cashier’s checks drawn on the Lebanese central bank in lieu of wire

transfers, despite the banks’ previous representations and assurances to Plaintiffs that Plaintiffs

could freely transfer their USD to the United States.

        46.    Wire transfers would take effect immediately and almost certainly be effective.

Thus, Plaintiffs continued to insist on wire transfers. For the same reason, BLC Bank, CL Bank

and AM Bank steadfastly refused to follow Plaintiffs’ instructions to execute the wire transfers.

The banks had no intention of allowing Plaintiffs to have their USD. Instead, BLC Bank, CL Bank

and AM Bank continued to insist that Plaintiffs take paper checks for deposit in the United States

that Defendants knew and intended BDL would refuse to honor in a process that would take weeks,

instead of instantaneous wire transfers.

        47.    Knowing that Plaintiffs were desperately trying to salvage their real estate

investments in the United States, BLC Bank, CL Bank and AM Bank steadfastly refused Plaintiffs’

repeated demands for wire transfers.


                                                  9
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 10 of 96




       48.      Ultimately, Plaintiffs relented and agreed to accept checks drawn by and against

BDL for deposit in the United States. Defendants coerced Plaintiffs to accept the checks. As a

material inducement for Plaintiffs accepting checks, Defendants assured Plaintiff the checks were

valid and could be deposited in the United States.

       49.      BLC Bank and CL Bank issued checks to Joseph Daou while he was in Lebanon

knowing Joseph Daou would ship them to the United States via DHL Courier for deposit in United

States banks.     AM Bank issued a check to Plaintiffs’ representative knowing Plaintiffs’

representative would ship the check to the United States via DHL Courier for Plaintiffs to deposit

in their United States bank account.

       50.      However, in furtherance of their conspiracy, Defendants agreed and intended that

BDL would refuse to honor the checks after Plaintiffs deposited them in a United States Bank.

       51.      On numerous occasions, Defendants lied to Plaintiffs about their intentions,

including in electronic written communications and telephonic communications, all in furtherance

of their conspiracy to misappropriate Plaintiffs’ USD.

       52.      The checks Defendants issued to Plaintiffs for deposit in the United States were

worthless and known to be worthless by Defendants at the time they were issued. Nevertheless,

upon issuance of the worthless checks, BLC Bank, CL Bank, and AM Bank fraudulently reduced

Plaintiffs’ account balances in Lebanon in the amount of the worthless checks. AM Bank later

credited Plaintiffs’ account in the amount of the worthless check it issued, but the gesture is illusory

because AM Bank will not allow Plaintiffs to have their USD.

       53.      Defendants pervasively used the wires and mails to carry out their fraudulent

scheme to steal from Plaintiffs who are United States citizens.

                                                  10
00
          Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 11 of 96




       54.     Plaintiffs suffered substantial injury in the United States as a result of Defendants’

unlawful activity and corrupt conspiracy, including the loss of Plaintiffs’ USD on deposit with

BLC Bank, CL Bank, and AM Bank, the loss of tens of millions of dollars in the United States

from the real estate acquisitions Plaintiffs lost due to Defendants’ unlawful conduct of which BLC

Bank, CL Bank and AM Bank were made keenly aware, and reputational damage to Plaintiffs

caused by Defendants passing Plaintiffs worthless checks for deposit in United States banks.

       55.     Defendants’ conspiracy was a commercial activity, comprised of BDL’s purported

repayment of debts it owed BLC Bank, CL Bank and AM Bank and the obligations those banks

owed to Plaintiffs as their retail clients. BDL knowingly drew bad checks as part of Defendants’

conspiracy to defraud Plaintiffs. BDL also authorized BLC Bank, CL Bank, and Am Bank to issue

the worthless cashier’s checks, despite intending not to honor the checks. Thus, BDL has no

entitlement to sovereign immunity in this action.

       56.     Defendants are liable to Plaintiffs under the Racketeer Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. § 1961, et seq., as a result of their commission of wire

fraud and mail fraud to further their conspiracy to misappropriate Plaintiffs’ USD and perpetuate

their Ponzi scheme.

       57.     Defendants are also liable to Plaintiffs under state law for knowingly and

intentionally drawing and issuing worthless checks to Plaintiffs, all in furtherance of their

conspiracy to defraud Plaintiffs, misappropriate Plaintiffs’ USD, and perpetuate Defendants’ Ponzi

scheme.

       58.     The fact that Lebanon’s central bank would conspire with three of Lebanon’s

largest commercial banks to commit wire fraud and mail fraud in the United States in order to


                                                11
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 12 of 96




defraud United States Citizens who deposited their hard earned USD in Lebanon in order for the

Lebanese banking system to hoard USD, demonstrates not only the depth of the banking crisis in

Lebanon, but the utter collapse of the rule of law in Lebanon.

       59.     Therefore, Plaintiffs, as United States citizens suffering injury in the United States

from unlawful conduct Defendants directed into the United States, come to this Court seeking

compensation for their injuries caused by Defendants’ flagrantly unlawful conduct, and exemplary

damages to punish Defendants for their illicit conspiracy to misappropriate USD from Plaintiffs

and other depositors.

       60.     The total compensatory and exemplary damages Plaintiffs seek in this action

exceed $150,000,000.00 USD.

                                            PARTIES

       61.     Plaintiff Joseph Daou is a citizen of the United States and the State of Florida, where

he is domiciled. Joseph Daou resides at 200 Palm Island SW, Clearwater Beach, Florida 33767.

       62.     Plaintiff Karen Daou is a citizen of the United States and the State of Florida, where

she is domiciled. Karen Daou resides at 200 Palm Island SW, Clearwater Beach, Florida 33767.

Joseph Daou and Karen Daou have been married for twenty-seven years.

       63.     Defendant BLC Bank is a Lebanese bank with its headquarters located in the BLC

Bank Building, Adlieh Square, 2064-5809, Beirut, Lebanon. BLC Bank is a Lebanese joint stock

company, and a citizen of Lebanon. BLC Bank is listed at No. 11 on Banque Du Liban’s list of

Lebanese banks.




                                                 12
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 13 of 96




       64.     Defendant CL Bank is a Lebanese bank with its headquarters located in the Credit

Libanais Tower, Corniche El Nahr, 1100-2811, Beirut, Lebanon. CL Bank is a Lebanese joint

stock company, and a citizen of Lebanon. CL Bank is listed at No. 53 on Banque Du Liban’s list

of Lebanese banks.

       65.     Defendant AM Bank is a Lebanese bank with its headquarters located in the Yared

Building, 6th Floor, Abdel Aziz Street, Hamra, 1103-2110, Beirut, Lebanon. AM Bank is a

Lebanese joint stock company, and a citizen of Lebanon. AM Bank is listed at No. 101 on Banque

Du Liban’s list of Lebanese banks.

       66.     Defendant BDL is the central bank of Lebanon. BDL is a legal public entity

established by the Lebanese Code of Money and Credit promulgated on August 1, 1963 by Decree

No. 13513. BDL’s operations as the central bank of Lebanon commenced April 1, 1964. BDL is

headquartered at Masraf Lubnan Street, 1100-5544, Beirut, Lebanon. BDL is a citizen of Lebanon.

                                 JURISDICTION AND VENUE

       67.     The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 because Plaintiffs assert causes of action pursuant to 18 U.S.C. § 1962, such that this action

arises under the laws of the United States.

       68.     The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1330(a), because the action is against BDL, BDL is a foreign state within the meaning of 28 U.S.C.

§ 1603(a) and (b), and BDL is not entitled to sovereign immunity in this action, including pursuant

to 28 U.S.C. § 1605(a).

       69.     Pursuant to 28 U.S.C. § 1367, the Court has supplemental subject matter

jurisdiction over all other claims not arising under the laws of the United States.

                                                 13
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 14 of 96




       70.     The Court would separately also have subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1332(a)(2), because Plaintiffs are citizens of the State of Florida and

Defendants are citizens of a foreign state, and the amount in controversy exceeds $75,000,

exclusive of interest and costs.

       71.     The Court has personal jurisdiction over Defendants pursuant to New York CPLR

§ 301 and the United States Constitution, because Defendants regularly and systematically conduct

business in New York and avail themselves of New York.

       72.     The Court has personal jurisdiction over Defendants pursuant to New York CPLR

§ 302(a)(1) and the United States Constitution, because the causes of action set forth herein arise

from Defendants’ transaction of business in New York.

       73.     This Court has personal jurisdiction over BDL pursuant to 28 U.S.C. § 1330(b),

because Plaintiffs will serve BDL pursuant to 28 U.S.C. § 1608.

       74.     Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(2), because a

substantial part of the events and omissions giving rise to the claims herein occurred in this District.

In the alternative, venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(3), because

Defendants are subject to personal jurisdiction in this District.

               FACTUAL BACKGROUND FOR ALL CAUSES OF ACTION

       Plaintiffs Establish Banking Relationships in Lebanon
       75.     Plaintiffs are entrepreneurs engaged in a variety of businesses and investments.

       76.     For example, Joseph Daou is the owner of Development & Option Unlimited,

Company (“DAOUCO”).

       77.     DAOUCO owns and operates real estate projects around the United States.
                                                  14
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 15 of 96




       78.     In addition, Plaintiffs are the owners of SAVIS, Inc. (“SAVIS”), which operates in

the pharmaceutical and biomedical engineering space and provides services to clients including,

Amgen, Gilead, Genentech, Medtronic, and other major pharmaceutical companies.

       79.     Specifically, SAVIS provides business services such as operations support, human

resources, accounting, legal, and information technology support to pharmaceutical companies.

       80.     Beginning in 2016, certain banks in Lebanon began soliciting Plaintiffs through

Joseph Daou to provide Plaintiffs with banking services.

       81.     The Lebanese banks were actively targeting successful business people like Joseph

Daou who are of Lebanese descent.

       82.     The Lebanese banks sought to convince investors like Plaintiffs to deposit money

USD in Lebanese banks by promising high interest rates and representing to Plaintiffs that their

USD would be safe including by providing inflated financial performance about the banks and

assuring depositors that they could readily withdraw or transfer their USD outside Lebanon.

       83.     The Lebanese banks, including BLC Bank, CL Bank, and AM Bank, were

anxiously pursuing USD deposits because investment in Lebanon was waning and the banks were

under pressure to meet previous obligations to pay interest and an overall strain on their USD

deposits.

       84.     The Lebanon banking system was appealing to international investors like Plaintiffs

because of the higher interest rates the Lebanese banks offered to their depositors.

       85.     In particular, the Lebanese banks incentivized the deposit of USD by offering

interest rates that exceeded the interest rates offered in other large banking markets.



                                                 15
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 16 of 96




       86.     However, as Plaintiffs repeatedly advised the banks, liquidity was critical for

Plaintiffs, as they would need to withdraw the USD they were depositing in Lebanon for

deployment in their ongoing investment projects outside Lebanon on relatively short notice,

including real estate in the United States and other opportunities.

       87.     Therefore, Plaintiffs insisted on opening short-term maturity bank accounts in

Lebanon, which permitted depositors to withdraw their money regularly as needed by instructing

the Lebanese bank to transfer their USD, including outside Lebanon.

       Plaintiffs’ Deposits with BLC Bank

       88.     BLC Bank is one of the leading private commercial banks in Lebanon. BLC Bank

was established in Lebanon in 1950. In August 2007, Fransabank Group, the fourth largest

banking institution in Lebanon, acquired 97.52% of the capital of BLC Bank.

       89.     BLC Bank offers a broad range of retail banking services, including commercial,

corporate, investment, private and correspondent banking.

       90.     BLC Bank ranks in the top ten of the roughly fifty-five banks that currently

operate in Lebanon in terms of total assets.

       91.     BLC Bank maintains correspondent bank accounts in New York at JPMorgan

Chase Bank, NA, The Bank of New York Mellon, and Standard Chartered Bank.              BLC Bank

utilized these correspondent banks throughout its relationship with Plaintiffs, including to accept

Plaintiffs’ USD deposits.




                                                 16
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 17 of 96




       92.     By 2016, Lebanese banks, including BLC Bank, were experiencing and witnessing

pressure on their USD deposits. The high interest rates the banks had offered for years to induce

deposits were catching up with the Lebanese banking system.

       93.     BLC Bank knew that the interest rates it was offering were unsustainable and

placing its depositors’ rights and property at risk as the problem worsened.

       94.     The burgeoning problem fueled BLC Bank’s need for USD, so, true to the nature

of a Ponzi scheme, the Lebanese banks including BLC Bank sought new victims to lure in order

to create income for the scheme.

       95.     Plaintiffs were new victims targeted by BLC Bank.

       96.     Through Branch Manager Jean Claude Zakhia, BLC Bank solicited and pursued

Joseph Daou as a client because BLC Bank wanted Joseph Daou to deposit USD in Lebanon.

       97.     At the time, Zakhia was a personal friend of Joseph Daou.

       98.     In 2016, when Lebanese banks started precipitously inflating interest rates to attract

USD, Zakhia reached out to Joseph Daou on a personal note soliciting him to deposit USD with

BLC Bank.

       99.     BLC Branch staff explained to Joseph Daou that in order for him to open an account

with BLC, Plaintiffs must comply with the Foreign Account Tax Compliance Act (“FATCA”) and

complete and sign W9 forms and FATCA forms. Joseph Daou informed the staff that he of course

would report his funds as they are already reported in the United States and would be reported on

the yearly Report of Foreign Bank and Financial Accounts (“FBAR”) Plaintiffs would file.




                                                17
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 18 of 96




        100.    Joseph Daou advised Zakhia that Plaintiffs would only be interested in depositing

their USD in short-term, monthly maturity accounts so that Plaintiffs’ USD would be readily

available anytime they needed their USD.

        101.    To induce Plaintiffs to open accounts and deposit USD, BLC Bank offered

Plaintiffs high interest rates.

        102.    In addition, to induce Plaintiffs to open accounts and deposit USD, BLC Bank

offered Plaintiffs short-term maturity periods of one-month.

        103.    In addition, to induce Plaintiffs to open accounts and deposit USD, BLC Bank

represented to Plaintiffs that there were no restrictions on Plaintiffs withdrawing their USD and

accrued interest from the BLC Bank accounts or transferring their USD outside Lebanon.

        104.    BLC Bank through Zakhia offered Plaintiffs interest rates in excess of fifteen

percent if Plaintiffs would agree to longer-term deposits. However, Plaintiffs refused. Plaintiffs

insisted that they be able to withdraw or transfer their USD outside Lebanon freely. Therefore,

Plaintiffs agreed to an interest rate of nine and one-half percent with deposits that matured monthly,

meaning Plaintiffs could withdraw or transfer their USD each month.

        105.    While these interest rates are enormous relative to the United States, they were

prevalent in Lebanon at the time.

        106.    Zakhia made these representations on behalf of BLC Bank.

        107.    At the time Zakhia made these representations, BLC Bank knew that there was a

substantial likelihood the representations were false because BLC Bank knew the strain on its USD

deposits.


                                                 18
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 19 of 96




       108.    BLC Bank further represented to Plaintiffs that it had many clients who were United

States citizens residing in the United States and that BLC Bank regularly engaged in banking

relations with individuals residing in the United States.

       109.    BLC Bank’s representations that it would pay Plaintiffs substantial interest while

still permitting Plaintiffs to readily withdraw or transfer their USD outside Lebanon were false.

BLC Bank knew that due to the shortage of USD in the Lebanese banking system there was a

substantial likelihood that Plaintiffs’ rights to the large interest payments and transferability of

their USD would be impaired.

       110.    Based on these assertions, Plaintiffs agreed to open accounts at BLC Bank.

       111.      On April 26, 2016, and while physically present at BLC Bank’s Byblos Branch,

Joseph Daou opened a joint USD account for Plaintiffs.

       112.    BLC Bank sent the account opening documents by mail to Karen Daou in the

United States, where Karen Daou was physically present.

       113.    The account opening documents, which included, among other documents,

FATCA, W9 forms, and know your customer (“KYC”) forms, identified Plaintiffs as United States

citizens residing in Florida.

       114.    Thereafter, BLC Bank delivered Plaintiffs’ account statements to Plaintiffs in the

United States via email. The account statements BLC Bank sent to Plaintiffs listed Plaintiffs’

Florida address. Thus, BLC Bank knew its misconduct against Plaintiffs was directed into the

United States and Florida.




                                                 19
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 20 of 96




       115.    On April 27, 2016, Plaintiffs transferred $2,500,000.00 USD from their account at

Fifth Third Bank, N.A. in the United States to BLC Bank in Lebanon.

       116.    BLC Bank utilized its correspondent bank account in New York to accept the April

27, 2016 wire transfer deposit of $2,500,000.00 USD.

       117.    On June 9, 2016, Plaintiffs directed the transfer of $1,900,000.00 from SAVIS’

bank account with BMO Harris Bank, N.A. to Plaintiffs’ account at BLC Bank in Lebanon.

       118.    BLC Bank utilized its correspondent bank account in New York to accept the June

9, 2016 wire transfer deposit of $1,900,000.00 USD.

       119.    On November 21, 2016, Plaintiffs directed the transfer of $2,000,000.00 from

SAVIS’ bank account with BMO Harris Bank, N.A. to Plaintiffs’ account at BLC Bank in

Lebanon.

       120.    BLC Bank utilized its correspondent bank account in New York to accept the

November 21, 2016 wire transfer deposit of $2,000,000.00 USD.

       121.    On February 21, 2017, Plaintiffs transferred $2,045,000.00 from Plaintiffs’ account

with BMO Harris Bank, N.A. to Plaintiffs’ account at BLC Bank in Lebanon.

       122.    BLC Bank utilized its correspondent bank account in New York to accept the

February 21, 2017 wire transfer deposit of $2,045,000.00 USD.

       123.    Each of the aforementioned transfers by Plaintiffs from the United States were

solicited by BLC Bank in furtherance of the scheme to induce deposits through the false

representations of high interest rates and ready transferability of the depositors’ USD.




                                                20
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 21 of 96




       124.    The banking relationship between Plaintiffs and BLC Bank was primarily

conducted through phone calls, text messages, and emails between BLC Bank in Lebanon and

Plaintiffs in the United States.

       125.    By September 2019, Plaintiffs were successful in securing multiple real estate

investment opportunities for their affiliated entities.       Specifically, the transactions were

acquisitions of multi-family properties in South Florida, Virginia Beach, Virginia, Austin, Texas,

and Houston, Texas.

       126.    The acquisitions required Plaintiffs to fund a deposit and related costs.

       127.    As Plaintiffs had planned, and as they previously advised BLC Bank, Plaintiffs

attempted to use their USD on deposit in Lebanon, including with BLC Bank, for their funding

obligations for the multi-family property investments.

       128.    On September 20, 2019, Joseph Daou contacted Zakhia, BLC Bank Branch

Manager in Byblos, Lebanon, to instruct BLC Bank to execute a wire transfer, on September 28,

2019, of Plaintiffs’ USD on deposit with BLC Bank to Plaintiffs’ account with Huntington

National Bank in the United States.

       129.    Joseph Daou provided BLC Bank with the wire transfer information for Plaintiffs’

Huntington National Bank account in the United States.

       130.    BLC Bank did not respond.

       131.    On September 23, 2019, Joseph Daou contacted Zakhia again to check on the status

of the wire and to request a current statement of Plaintiffs’ accounts.




                                                 21
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 22 of 96




        132.   On September 24, 2019, Zakhia responded with Plaintiffs’ account statements, and

represented to Joseph Daou that BLC Bank would execute the wire transfer as planned on

September 28th, 2019.

        133.   This representation was false and known to be false at the time Zakhia made the

representation. The banking crisis in Lebanon had already become acute, and BLC Bank was

unlawfully hoarding USD. Also, Plaintiffs were not among the politically elite who BLC Bank

and other Lebanese banks preferred and did allow to withdraw USD.

        134.   Zakhia requested that Plaintiffs retain $1,500,000.00 USD on deposit with BLC

Bank and withdraw the balance.

        135.   Joseph Daou responded that although he would consider returning funds after

Plaintiffs complete their real estate acquisition, Plaintiffs needed the funds for their real estate

transaction.

        136.   As it surreptitiously planned along with the other banks, BLC Bank refused to

follow Plaintiffs’ instruction and did not execute the wire transfer on September 28, 2020.

        137.   On September 30, 2019, Zakhia falsely represented via wire transmission to Joseph

Daou in the United States that BLC Bank would wire transfer the funds to Plaintiffs’ account on

October 28th, 2019, the next recurring monthly maturity date for Plaintiffs’ accounts with BLC

Bank.

        138.   On October 21, 2019, while in South Florida Joseph Daou shared via WhatsApp

pictures and video of the multi-family properties Plaintiffs secured for acquisition with Zakhia,

BLC Bank’s Branch Manager. In response, via a WhatsApp text message Zakhia congratulated



                                                22
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 23 of 96




Joseph Daou and assured Joseph Daou that BLC Bank was prepared to execute the wire transfer

on October 28, 2019.

       139.    On October 28, 2019, Joseph Daou requested an update from BLC Bank on the

wire transfer, because it was not executed as promised.

       140.    On October 29, 2019, Joseph Daou made another request regarding the status of

the wire transfer that BLC Bank assured Plaintiffs it would execute on October 28, 2019 but had

not.

       141.    On October 29, 2019, Zakhia sent Joseph Daou a message via WhatsApp

explaining that the Lebanese banks, including BLC Bank, were closed, but Zakhia nevertheless

assured Plaintiffs that as soon as the banks reopened BLC Bank would execute the wire transfer.

       142.    In response, on October 29, 2019 Joseph Daou reiterated that Plaintiffs were

instructing BLC Bank to execute the wire transfer and expressed his concern that BLC Bank was

dodging the issue and refusing to follow his instructions.

       143.    On November 4, 2019, Joseph Daou notified Zakhia that he was in Lebanon and

would appear personally in the branch to inquire about the long-overdue wire transfer.

       144.    The next day, on November 5, 2019, Joseph Daou appeared at the BLC Branch in

Byblos, Lebanon. Joseph Daou and Zakhia consolidated Plaintiffs’ two separate USD BLC

Accounts into one account.

       145.    During the meeting, Joseph Daou asked Zakhia if BLC Bank was in an insolvency

proceeding or if any capital controls had been implemented by the Lebanese government. Zakhia

stated that there were no capital controls in place and no insolvency proceeding.


                                                23
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 24 of 96




        146.   Zakhia fraudulently concealed from Joseph Daou that BLC Bank was

surreptitiously and collusively blocking USD withdrawals by the non-politically elite.

        147.   On November 7, 2019, BLC Bank finally revealed through Zakhia that it was

unlawfully refusing to follow Plaintiffs’ instruction to execute the long-overdue wire transfer of

Plaintiffs’ USD to the United States. Zakhia stated that BLC Bank’s refusal to execute the wire

transfer at the direction of BLC Bank’s Board.

        148.   As an alternative to the wire transfer, Zakhia offered to provide Plaintiffs with a

cashier’s check that would be valid for deposit in the United States.

        149.   Plaintiffs rejected this proposal. BLC Bank was obligated to follow Plaintiffs’

instructions and execute the wire transfer for Plaintiffs.

        150.   Plaintiffs should not be forced to accept a cashier’s check that could take weeks to

clear even if BLC Bank was not issuing worthless checks, which, as Plaintiffs would later learn, it

was.

        151.   Unable to obtain the long-overdue wire transfer of Plaintiffs’ USD, and receiving

no reliable information from the Branch Manager – Zakhia, on November 7, 2019, Joseph Daou

wrote to Samir Khoury, BLC Bank’s Deputy Head of Retail Banking, demanding a wire transfer

of the full balance of Plaintiffs’ USD in their BLC Bank account, including interest. In addition,

just as with his correspondence with Zakhia, Joseph Daou specifically advised Khoury that the

wire transfer was necessary for Plaintiffs to fund real estate investments in the United States.

        152.   As of November 8, 2019, Plaintiffs had $7,469,166.41 USD on deposit with BLC

Bank.



                                                 24
00
          Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 25 of 96




          153.   That same day, Joseph Daou again instructed Zakhia to execute the wire transfer to

Plaintiffs’ bank account in the United States.

          154.   Zakhia notified Joseph Daou that BLC Bank would not execute the wire transfer,

and further advised that the only method of withdrawal available to Plaintiff was a cashier’s check.

          155.   Khoury represented to Plaintiffs that the proposed cashier’s check was valid and

could be deposited in the United States where the funds on deposit at BLC Bank originated.

          156.   Joseph Daou asked Khoury if the bank was in an insolvency proceeding or any

capital controls had been imposed by the Lebanese government.

          157.   In response, Khoury confirmed that BLC Bank was not subject to any insolvency

proceeding. In addition, Khoury confirmed that the Lebanese government had not imposed capital

controls on the Lebanese banks.

          158.   Instead, Khoury finally conceded that the Lebanese banks’ and BDL’s conspiracy

to hoard USD in Lebanon through the selective refusal to permit some depositors from transferring

their USD outside Lebanon was being carried out through an informal agreement among the banks.

          159.   Joseph Daou advised Khoury that BLC’s refusal to follow Plaintiffs’ instructions

regarding Plaintiffs’ USD was unlawful, and Joseph Daou again demanded a wire transfer.

          160.   Khoury again refused Plaintiffs’ instruction. Instead, he repeated that Plaintiffs’

only option for withdrawing their USD was to accept a cashier’s check drawn on BDL. Khoury

again represented that the cashier’s check BLC would issue would be negotiable in the United

States.

          161.   Plaintiffs declined to accept a cashier’s check and still insisted on a wire transfer.

                                                   25
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 26 of 96




       162.    On November 13, 2019, Plaintiffs again advised BLC Bank that Plaintiffs would

suffer substantial damages beyond the loss of their USD if BLC Bank continued to unlawfully

misappropriate Plaintiffs’ USD and refuse to follow their instructions.

       163.    Specifically, on November 13, 2019, Plaintiffs’ counsel in the United States sent a

demand letter to Nadim Kassar, Chairman of the Board and General Manager of BLC Bank,

instructing BLC Bank to execute a wire transfer from Plaintiffs’ BLC Bank account to Plaintiffs’

account at Huntington National Bank in the United States in the amount of $7,500,000.00 USD on

November 28, 2019, the next recurring monthly maturity date for Plaintiffs’ BLC Bank account.

       164.    In his November 13, 2019 correspondence, Plaintiffs’ counsel stated to BLC Bank

that Plaintiffs and their related entities are imminently closing on the acquisition of a multi-family

property in South Florida and require the $7,500,000.00 from Plaintiffs’ BLC Bank account no

later than December 2, 2019 for Plaintiffs’ to meet their funding obligation for the real estate

acquisition. Plaintiffs’ counsel further advised BLC Bank that its failure to wire Plaintiffs’ their

USD would result in damages of $28,000,000.00 USD above the loss of their USD and interest.

       165.    Plaintiffs’ counsel in the United States also sent a copy of the demand letter to

Bassam Hassan, Chief Executive Officer of BLC Bank.

       166.    The letter was delivered via the United States Postal Service Express to both Kassar

and Hassan at BLC Bank’s headquarters in Adlieh Square, Beirut, Lebanon.

       167.    BLC Bank ignored the letter from Plaintiffs’ counsel, and, between November 13,

2019 and November 23, 2019, BLC Bank continued to refuse Plaintiffs’ instruction to execute the

wire transfer. Instead, BLC Bank continued to pressure Plaintiffs to accept a cashier’s check

instead, and represented to Joseph Daou that the cashier’s check BLC Bank was pressuring

                                                 26
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 27 of 96




Plaintiffs to accept would be drawn against BDL, would be valid, and could be deposited in the

United States.

       168.      On November 24, 2019, BLC Bank showed Joseph Daou an exemplar of a cashier’s

check with BDL as both the drawee and drawer of the check.

       169.      On November 24, 2019, BLC Bank, through Khoury, represented to Plaintiffs that

the check was valid, and that there were sufficient funds for the check to clear, and that the check

would be negotiable in the United States.

       170.      BLC Bank specifically assured Plaintiffs that the check could be deposited in the

United States.

       171.      BLC Bank’s unlawful misappropriation of Plaintiffs’ USD was causing Plaintiffs

severe prejudice and duress. Plaintiffs needed their USD to meet their funding obligations for

pending real estate acquisitions.    BLC Bank’s callous disregard for Plaintiffs’ rights made

Plaintiffs desperate for access to their own USD.

       172.      Reluctantly, and in reliance on both BLC Bank’s representations and assurances

and on the fact that the check was drawn by and against the BDL, which is the central bank of

Lebanon, Plaintiffs agreed to accept the cashier’s check.

       173.      On November 24, 2019, Plaintiffs wrote to BLC Bank confirming that they were

only accepting the check based on BLC Bank’s ongoing refusal to execute a wire transfer and BLC

Bank’s repeated assurances that the check drawn against BDL could be deposited by Plaintiffs in

the United States.




                                                27
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 28 of 96




       174.    On November 28, 2019, BLC Bank issued the check to Plaintiffs in the amount of

$7,525,000.00 USD, which was drawn by BDL against BDL. The check was signed by Zakhia

and another representative of BLC Bank. Plaintiffs were the payees.

       175.    Zakhia explained to Joseph Daou that BLC Bank and Zakhia were authorized by

BDL to issue the checks.

       176.    BLC Bank again represented to Joseph Daou that the check was valid and could be

deposited in the United States.

       177.    Joseph Daou specifically notified BLC Bank that he would send the check home

via DHL Courier to deposit in the United States.

       178.    The copy of the check and the receipt stated in handwriting “valid for deposit in

USA” and BLC Bank’s Branch Manager, Zakhia, initialed it.

       179.    At the time BLC Bank issued the check, BLC Bank knew Plaintiffs would send the

check to the United States via DHL Courier for deposit in the United States.

       180.    At the time BLC Bank issued the check, BDL and BLC Bank knew the check could

not be validly deposited in the United States because BDL would dishonor the check when the

United States bank attempted collection on the check.

       181.    Defendants’ refusal to execute wire transfers for Plaintiffs was motivated by and

part of Defendants’ fraudulent USD hoarding and misappropriation conspiracy.

       182.    Plaintiffs deposited the check in the United States. Specifically, Plaintiffs

deposited the $7,525,000.00 USD check in Huntington National Bank.




                                                28
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 29 of 96




       183.    On December 5, 2019, Huntington National Bank advised Plaintiffs that the check

had been dishonored. Huntington National Bank stated that the reason for rejection was: “We are

returning the attached check which was presented to us for collection. The check is being returned

unpaid for reason of LEBANON IS NOT ACCEPTING CHECKS FOR COLLECTIONS.

CHECKS MUST BE PRESENTED AT LOCAL BANK IN LEBANON.”

       184.    BDL made these wire communications to financial institutions in the United States

to execute Defendants’ fraudulent scheme by dishonoring the check.

       185.    On December 30, 2019, Plaintiffs deposited the $7,525,000.00 USD check at the

Bank of America in Florida.

       186.    On January 7, 2020, Bank of America returned the $7,525,000.00 USD check to

Plaintiffs. Bank of America wrote: “We’re unable to process your collection item for the following

reason: The financial institution that the check is drawn on no longer supports presentments for

payment.”

       187.    Thus, BDL once again used wire communications to execute Defendants’

fraudulent scheme by dishonoring the check.

       188.    Notably, Bank of America also wrote: “If you have concerns about the check being

returned, you may contact the maker of the check and request an alternate payment method, such

as a cashier’s check or money order; or a wire or ACH funds transfer.” Of course, that is exactly

what Plaintiffs had attempted, but which Defendants steadfastly refused.

       189.    The statements made by BDL to the United States financial institutions were made

by wire and were known to the BDL to be false when made.



                                               29
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 30 of 96




       190.    Plaintiffs attempted to contact BDL to discuss BDL’s misconduct and attempt to

mitigate their damages, but BDL refused to communicate with Plaintiffs.

       191.    For their part, BDL and BLC Bank purposefully and knowingly passed worthless

checks to United States citizens in the United States in furtherance of their conspiracy to defraud

depositors like Plaintiffs and misappropriate their USD.

       192.    After the check was dishonored, Plaintiffs’ Lebanese counsel issued a demand letter

to BLC Bank to execute a wire transfer of Plaintiffs’ USD to Plaintiffs’ United States bank account.

       193.    On January 31, 2020, Joseph Daou sent an email to Khoury and Zakhia demanding

execution of the wire transfer to Plaintiffs’ Huntington Bank account, because the worthless check

was dishonored as Defendants intended. Joseph Daou also requested that BLC Bank credit his

BLC Bank account in the amount of the worthless check.

       194.    BLC Bank refused to transfer Plaintiffs’ dollars, and spitefully reduced Plaintiffs’

account at BLC Bank in the amount of the worthless check BLC Bank issued. BLC Bank brazenly

misappropriated Plaintiffs’ USD.

       195.    Plaintiffs were therefore left with bad checks and a nominal balance in their BLC

Bank account. Despite having $7,525,000.00 USD on deposit with BLC Bank and never receiving

anything but a worthless check, as of April 8, 2020 Plaintiffs’ BLC Bank account balance showed

as $27.08.

       Plaintiffs’ Deposits with CL Bank

       196.    CL Bank holds itself out as a global provider of banking products and services

channeled through an extensive network of seventy-one branches. CL Bank was established in


                                                30
00
          Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 31 of 96




July 1961. CL Bank’s ownership is split between CIH Bahrain International Holding S.A.L.

controlling 35.06% of the share capital and EFG Hermes CL Holding S.A.L. with an 8.81% stake.

The remaining 56.13% is owned by over 1,000 individual shareholders, including investment

companies, individuals, executives and employees of CL Bank, each with less than five percent,

such as Joseph Torbey, Chief Executive Officer and Chairman of CL Bank.

       197.    For USD transactions, CL Bank maintains correspondent bank accounts in New

York with Citibank, N.A., JPMorgan Chase Bank, N.A., Standard Chartered Bank, and the Bank

of New York Mellon. CL Bank utilized these correspondent banks in New York to transact with

Plaintiffs, including to accept deposits of Plaintiffs’ USD at issue in this action.

       198.    By 2016, Lebanese banks, including CL Bank, were experiencing and witnessing

pressure on their USD deposits. The high interest rates the banks had offered for years to induce

deposits and the worsening Lebanese economy were catching up with the Lebanese banking

system.

       199.    CL Bank knew that the interest rates it was offering were unsustainable and placing

its depositors’ rights and property at risk and the problem worsened.

       200.    The burgeoning problem fueled CL Bank’s need for cash, so, true to the nature of

a Ponzi scheme, the Lebanese banks, including CL Bank, sought new victims to lure in order to

create income for the scheme.

       201.    Plaintiffs were new victims targeted and solicited by CL Bank.

       202.    Plaintiffs were introduced to CL Bank through Nadim Issa, Regional Manager of

the Jbeil and North branches. Issa pursued Joseph Daou as a client to solicit him to deposit USD

in Lebanon.
                                                  31
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 32 of 96




       203.      In March 2016, Issa visited Joseph Daou in Kaslik, Lebanon to introduce CL

Bank’s Jounieh branch staff, including Michel Ghalieh, Jounieh Branch Manager, who would be

assisting Plaintiffs with their day-to-day banking services.

       204.      Issa offered Plaintiffs even higher interest rates if they would agree to longer-term

maturity deposits. Plaintiffs steadfastly refused, and reiterated they needed ready access to their

USD and would only deposit their USD if CL Bank could assure Plaintiffs of at most one-month

reoccurring maturity dates.

       205.      CL Bank, through Issa, represented to Joseph Daou that Plaintiffs could readily

withdraw or transfer their USD outside Lebanon.

       206.      Plaintiffs relied on these repeated representations and were induced to enter into a

banking relationship with CL Bank and were induced to deposit their USD with CL Bank.

       207.      On March 9, 2016 and while physically present in Lebanon, Joseph Daou opened a

joint bank account with his wife, Karen Daou at CL Bank, Jounieh Branch. Issa and Ghalieh were

both present at the time Joseph Daou opened the account.

       208.      As Karen Daou was present in the United States at the time of the account opening,

CL Bank sent Karen Daou the account opening documents in Florida via mail.

       209.      CL Bank knew, including based on account opening documents such as FATCA

disclosures, W9 forms and KYC forms, that Plaintiffs were Florida citizens residing in Florida,

and CL Bank knew it was directing wire communications and mail communications into the

United States.




                                                  32
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 33 of 96




       210.    The banking relations between Plaintiffs and CL Bank since 2016 were conducted

mostly through WhatsApp voice messages and WhatsApp text messages between Plaintiffs in the

United States and CL Bank representatives in Lebanon. CL Bank even delivered Plaintiffs their

account statements in the United States via WhatsApp text messages.

       211.    On April 07, 2016, Plaintiffs deposited $2,500,000.00 USD in their CL Bank

account by initiating a wire transfer from Joseph and Karen Daou’s account at Fifth Third Bank in

the United States to Plaintiffs’ account with CL Bank in Lebanon.

       212.    CL Bank utilized its correspondent bank in New York to accept the transfer of

Plaintiffs’ $2,500,000.00 USD deposit on April 07, 2016.

       213.    On February 05, 2018, Plaintiffs deposited $825,000.00 USD in their CL Bank

account by transferring $825,000.00 USD from Joseph and Karen Daou’s account at BMO Harris

Bank in the United States to Plaintiffs account with CL in Lebanon

       214.    CL Bank utilized its correspondent bank in New York to accept the transfer of

Plaintiffs’ $825,000.00 USD deposit on February 5, 2018.

       215.    On August 20, 2018, and subsequent to Plaintiffs’ request via phone for a wire

transfer, CL Bank initiated a wire transfer of $3,699,995.00 USD to Plaintiffs’ account at BMO

Harris Bank in the United States.

       216.    CL Bank used its correspondent bank in New York to effectuate the August 20,

2018 transfer to Plaintiffs in the United States.




                                                    33
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 34 of 96




       217.    On October 22, 2018, Plaintiffs deposited $4,699,994.00 USD in their CL Bank

account by transferring $4,699,994.00 USD from Joseph Daou’s account at Huntington National

Bank in the United States to Plaintiffs account with CL Bank in Lebanon.

       218.    CL Bank used its correspondent bank account in New York to accept Plaintiffs’

$4,699,994.00 USD transfer on October 22, 2018.

       219.    Throughout the discussions between Joseph Daou and Issa, Joseph Daou made

clear to Issa and Issa understood that Plaintiffs required ready transferability of their USD outside

Lebanon.

       220.    On behalf of CL Bank, Issa repeatedly represented to Joseph Daou, over the

telephone and written electronic communications to Joseph Daou including while Joseph Daou

was physically present in the United States, that Plaintiffs’ deposits would earn substantial interest

rates in USD and that Plaintiffs could promptly withdraw or transfer their USD outside Lebanon.

       221.    On January 12, 2019, Joseph Daou sent Issa a text message to inquire about the

situation in Lebanon, and asked why he was receiving higher interest rates at other banks relative

to CL Bank.

       222.    On January 14, 2019, Joseph Daou then showed Issa a forwarded text message

showing that he was getting 9.75% net interest from another Lebanese bank.

       223.    On January 14, 2019, Issa replied that CL Bank does not offer interest rates equal

to what Plaintiffs were receiving at other Lebanese banks. Issa further explained that some banks

needed the USD cash because they “mismatched” their investment. Specifically, Issa asserted that

other banks were paying high interest rates to borrow money to pay their debts, and thus were

willing to pay high interest rates to depositors to gain USD deposits. Issa maintained that only
                                                 34
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 35 of 96




Lebanese banks that needed USD cash were giving customers that high of an interest rate, and

represented that CL Bank was not in such a compromised financial condition.

        224.    On January 16, 2019, Joseph Daou sent a message to Issa advising that he had been

trying to call him with no success. Joseph Daou stated to Issa that Plaintiffs’ next monthly account

maturity date was approaching and that Plaintiffs wanted to know if CL Bank would match the

9.75% interest rate Plaintiffs were receiving at other Lebanese banks. Joseph Daou advised Issa

that if CL Bank would not match the interest rate, Plaintiffs would withdraw their USD from CL

Bank.

        225.   Issa responded in a WhatsApp text message to Joseph Daou advising that Issa was

unable to discuss any interest rates with CL Bank’s General Manager and that he will be doing

that the next day. On January 17, 2019, Issa asked for additional time because the General

Manager wanted to talk to Torbey before they could give him a final answer on the interest.

        226.   On January 21, 2019, Issa left Joseph Daou a voicemail in the United States

advising Joseph Daou that the Chairman of CL Bank approved the 9.75% interest rate for

Plaintiffs’ USD. Issa stated that CL Bank did not want to lose Plaintiffs as clients, and therefore

the Chairman approved the request even though it was purportedly the first request of this kind.

Issa also asked Daou to deposit more USD with CL Bank.

        227.   On February 5, 2019, Daou requested a financial statement from CL Bank so that

Plaintiffs could see how the bank performed in general in 2018 to make sure they were dealing

with a solid bank.




                                                35
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 36 of 96




        228.    On February 6, 2019, Issa used the wires to send Plaintiffs in the United States

approximate confidential numbers showing good performance and claiming the official statements

were not finalized yet.

        229.    In response, Daou asked Issa if the rumors were true that depositors of Lebanese

banks were having difficulty withdrawing USD cash from their USD accounts in Lebanon.

        230.    On February 7, 2019, Issa responded that it was not true of CL Bank, but might be

true for other banks if they had liquidity difficulties.

        231.    On April 14, 2019, Michel Ghalieh stated to Joseph Daou that BDL and the

Lebanese Association of Banks were instructing banks including CL Bank to unilaterally lower

depositors’ interest rates.

        232.    On April 14, 2019, Joseph Daou and Issa spoke via WhatsApp voice messaging

while Joseph Daou was in the United States. Joseph Daou reiterated what Ghalieh told him.

Ghalieh explained that CL Bank may have to reduce his bank accounts interests and that he wanted

to make sure Joseph Daou was aware because he knew Joseph Daou is a United States citizen and

would potentially need to change his tax planning in the United States. Issa agreed to look into

the matter. In addition, Issa volunteered to Joseph Daou that the previous month, CL Bank’s

General Manager requested Issa to reduce Plaintiffs’ interest rate by one quarter of one percent,

but Issa refused to do it. Joseph Daou thanked Issa, and asked Issa to advise him if the interest

rate would be reduced because, if so, Plaintiffs would withdraw their USD.

        233.    On April 18, 2019, Issa responded via WhatsApp to Joseph Daou in the United

States, confirming that CL Bank would not reduce any interest rates on Plaintiffs’ USD.



                                                   36
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 37 of 96




       234.    Neither Issa nor anyone else on behalf of CL Bank informed Plaintiffs of interest

rate changes prospectively, even though CL Bank knew it would never actually pay the interest

that was accruing at the rate promised to Plaintiffs.

       235.    On September 4, 2019, Joseph Daou inquired of Issa via WhatsApp about the risk

of Plaintiffs keeping their USD in Lebanon, and asked Issa about the best time for Plaintiffs to

withdraw their USD.

       236.    On September 5, 2019, Issa responded to Joseph Daou in the United States via

WhatsApp. Issa thanked Joseph Daou for his trust. Issa represented to Joseph Daou that the

Lebanese banking system was still very solid and there were no risks for Plaintiffs’ USD. Issa

stated that he wished Plaintiffs would not withdraw their USD from CL Bank, while assuring

Joseph Daou there was no risk.

       237.    On September 23, 3019, Issa offered further assurance to Plaintiffs, representing to

Vanessa Mikhael, Plaintiffs’ international business agent, via wire transmission to the United

States that Joseph Daou’s money was safe in Lebanon and he should not have any concerns about

the same.     To support his representation, Issa asserted that CL Bank recently received

$100,000,000.00 USD from a European Bank which, according to Issa, was a sign of safety and

security.

       238.     These representations were false and known to be false when made by Issa on

behalf of CL Bank to induce Plaintiffs to retain their USD in Lebanon and CL Bank in particular.

       239.    By late September 2019, Plaintiffs were successful in securing multiple real estate

investment opportunities for their affiliated entities.     Specifically, the transactions were



                                                 37
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 38 of 96




acquisitions of multi-family properties in South Florida, Virginia Beach, Virginia, Austin, Texas,

and Houston, Texas.

       240.    The acquisitions required Plaintiffs to fund a deposit and related costs.

       241.    As they had planned, Plaintiffs attempted to use the funds on deposit in Lebanon,

including with CL Bank, for their funding obligations for the multi-family property investments.

       242.    On October 21, 2019, Joseph Daou asked Issa whether the rumors of wire transfers

outside of Lebanon being prohibited were true. Via WhatsApp Issa represented to Joseph Daou

while Joseph Daou was in the United States that there was nothing even close to such a prohibition,

because banks cannot stop people from withdrawing their funds. Joseph Daou then asked Issa if

there were any capital controls. On October 22, 2019, Issa represented via WhatsApp to Joseph

Daou that there were no capital controls whatsoever and the rumors were not true.

       243.    On October 28, 2019, Joseph Daou contacted Issa, and instructed that CL Bank

wire transfer the balance of $7,000,000.00 USD.

       244.    In response, on October 28, 2019, Issa confirmed to Joseph Daou while he was in

the United States using WhatsApp that he could arrange to send the wire to the United States in

the amount of $7,000,000.00 USD, and further represented to Joseph Daou that the wire transfer

had already been approved by CL Bank’s Board.

       245.    These representations were false and known to be false when made by Issa.

       246.    Issa subsequently reneged in part and contracted Joseph Daou to request that the

wire transfer be delayed until November 14, 2019.




                                                38
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 39 of 96




       247.    Joseph Daou responded by explaining that the wire transfer was required promptly

so Plaintiffs could use it to satisfy Plaintiffs’ funding obligations for their acquisition of multi-

family real estate projects in Virginia Beach and South Florida.

       248.    On October 29, 2019, Plaintiffs, through Mikhael, delivered formal instructions for

the requested wire transfer to Issa.

       249.    After receiving the instruction, Issa phoned Mikhael requesting that the wire

transfer be delayed until November 14, 2019.

       250.    In response, Mikhael inquired about the reason for the delay.

       251.    Issa over wires into the United States confirmed to Mikhael that there were no

restrictions whatsoever, but the delay would let Issa close the month with higher USD in the

accounts originated by him, and that his request is purely personal.

       252.    Issa fraudulently concealed from Mikhael the facts that Defendants had already

collusively enacted informal capital controls by only allowing politically connected depositors to

transfer their USD outside Lebanon for safekeeping while agreeing to prohibit withdrawals and

transfers outside Lebanon by depositors without political connections.

       253.    In reality, Issa was acting in furtherance of Defendants’ extensive conspiracy to

hoard the USD in Lebanon by misappropriating USD from their depositors.

       254.    On October 29, 2019, Joseph Daou sent Issa via WhatsApp a lengthy explanation

of the United States real estate investments Plaintiffs secured in Virginia Beach and South Florida

and that the contract was signed. Joseph Daou explained to Issa that this had been discussed a few




                                                 39
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 40 of 96




months prior and CL Bank was aware of that through a regional manager who confirmed to Joseph

Daou that Plaintiffs could transfer the USD out of Lebanon.

       255.    On November 5, 2019, Joseph Daou and Issa discussed the pending wire transfer

again. Joseph Daou explained that the latest the wire could be executed was November 14, 2019,

but that Plaintiffs preferred that it be executed by November 13, 2019.

       256.    Issa confirmed to Joseph Daou that CL Bank would execute the requested wire

transfer on November 14, 2019. Issa’s representation was knowingly false when he made it to

Joseph Daou. Issa knew CL Bank had already agreed not to permit withdrawals or transfers

outside Lebanon by depositors like Plaintiffs who were not among the political elite.

       257.    Furthermore, Issa gratuitously and falsely represented to Mikhael that he notified

the CL Bank Board of Directors of his resignation should the wire transfer not get executed to

Plaintiffs on the promised date, November 14, 2019. Issa was clearly trying to increase Plaintiffs’

confidence that the wire would be made, and to cement his personal relationship with Joseph Daou.

CL Bank never executed the wire transfer, but Issa remains employed by CL Bank to this day as

one of five of its Regional Managers.

       258.    On November 7, 2019, Joseph Daou and Issa discussed the informal constraints on

cash withdrawals being reported in the press. Issa conceded to Joseph Daou that CL Bank was

indeed restraining cash withdrawals, but reassured Joseph Daou that the pending wire transfer was

not impacted and would be “no problem.”

       259.     On November 8, 2019, Issa again reassured Joseph Daou that the wire transfer

would proceed as planned on November 14, 2019, regardless of whether the bank was closed



                                                40
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 41 of 96




because, according to Issa, CL Bank’s back office which would execute the wire transfer was still

functioning.

         260.   Issa additionally assured Plaintiffs’ representative, Mikhael, during a telephone

conversation, that even if CL Bank could not initiate the wire transfer from Lebanon, CL Bank has

the full capability of initiating the wire transfer of $7,000,000.00 USD from CL Bank’s

correspondent bank in New York to Plaintiffs’ United States bank account and assured Mikhael

CL Bank would do so if necessary.

         261.   On November 11, 2019, when Joseph Daou learned the news of a nationwide strike

by bank tellers who were refusing to work without better security given the civil unrest in Lebanon

as the banking crisis was deepening, he contacted Issa to determine whether the bank strike could

impact the wire. Issa once again assured Joseph Daou via wire communication that CL Bank’s

back office remained open and therefore the strike would not impact the wire transfer. Issa further

confirmed to Joseph Daou that CL Bank was not the subject of an insolvency proceeding and that

the Lebanese government had not imposed any capital controls on CL Bank or the other Lebanese

banks.

         262.   On November 12, 2019, Joseph Daou sent a written communication to Issa

requesting confirmation that the wire transfer would be performed as requested. Issa reassured

Joseph Daou via wire communication that the transfer would be completed as requested.

         263.   On November 13, 2019, Issa confirmed to Joseph Daou that the wire transfer was

approved by Torbey. Issa assured Daou that the $7,000,000.00 USD would be in his account the

following morning of November 14, 2019 when Joseph Daou’s team woke up in the United States.

         264.   All of these representations were knowingly false when made by Issa.

                                                41
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 42 of 96




         265.   CL Bank never executed the wire transfer, despite its repeated assurances that it

would.

         266.   On November 14, 2019, Joseph Daou and Mikhael attempted to contact Issa

numerous times but Issa never responded. Mikhael also texted Issa, reminding Issa of the

monetary and reputational damages CL Bank is causing by not executing the wire transfer to

Plaintiffs’ bank accounts in the United States.

         267.   Eventually, on November 14, 2020, Issa shut off his phone to avoid Plaintiffs’

repeated phone calls

         268.   On November 15, 2019, Plaintiffs, through Mikhael, wrote to Torbey demanding a

status update on the overdue wire transfer and advised Torbey that CL Bank’s unlawful conduct

was about to cost Plaintiffs substantial damages from losing the Virginia Beach multifamily

property acquisition. The same day Joseph Daou also wrote to Torbey explaining the harm CL

Bank’s unlawful conduct was causing. Torbey did not respond to either communication from

Plaintiffs.

         269.   With Issa and Torbey ignoring Plaintiffs, on November 15, 2019 Joseph Daou also

sent a separate communication to both Michel Ghalieh and Torbey to request a wire transfer in the

amount of $5,300,000.00 USD. Ghalieh responded, and advised Joseph Daou that CL Bank cannot

make the wire transfer as Issa and CL Bank previously assured Plaintiffs. Torbey persisted in his

failure to respond.

         270.   Joseph Daou wrote to Ghalieh on November 15, 2019 specifically advising Ghalieh

that CL Bank’s failure and refusal to execute the wire transfer as instructed by Plaintiffs was

causing Plaintiffs substantial damages from the delay in closing on the acquisition of the Virginia

                                                  42
00
            Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 43 of 96




Beach multi-family property and potential loss of the acquisition which would cause millions of

dollars in losses.

        271.     Plaintiffs spent the next several days attempting to persuade CL Bank to execute

the wire transfer to no avail. Specifically, Plaintiffs’ counsel wrote to Torbey instructing CL Bank

to execute a wire transfer from Plaintiffs’ CL Bank account to Plaintiffs’ bank account in the

United States. This correspondence was delivered to Torbey via USPS Express at CL Bank

headquarters in Adlieh Roundabout, Beirut, Lebanon.

        272.     On November 19, 2019, Joseph Daou appeared in CL Bank’s offices in Lebanon to

meet with Ghalieh. Ghalieh again advised Joseph Daou that CL Bank would not make a wire

transfer of Plaintiffs’ USD to Plaintiffs’ account in the United States. Instead, Ghalieh proposed

CL Bank issuing Plaintiffs a cashier’s check that Plaintiffs could deposit in the United States.

Joseph Daou continued to insist upon receiving a wire transfer, and implored Ghalieh to explain

the reason CL Bank was refusing to follow Plaintiffs’ instruction to execute the delinquent wire

transfer.

        273.     Regarding CL Bank’s proposal that Plaintiffs accept a cashier’s check drawn on

BDL in lieu of a wire transfer, Joseph Daou responded on November 19, 2019 by asking Ghalieh

of CL Bank to reconsider executing the wire transfer per Plaintiffs’ instruction to avoid the

substantial economic damages CL Bank’s unlawful activities were causing to Plaintiffs. Plaintiffs

further reiterated to CL Bank that Plaintiffs’ entity had committed to fund $8,000,000.00 USD for

their investment in the Virginia Beach multi-family project and advised CL Bank that its continued

misappropriation of Plaintiffs’ USD was impeding the consummation of the acquisition and

exposing Plaintiffs to substantial potential liability.


                                                   43
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 44 of 96




       274.     As of November 20, 2019, Plaintiffs had on deposit with CL Bank $5,298,845.03

USD in one account and $413,027.25 USD in another CL Bank account.

       275.    On November 20, 2019 Joseph Daou again appeared in the Jounieh branch of CL

Bank and met with Ghalieh. Joseph Daou demanded a wire transfer to Plaintiffs’ United States

account, but again Ghalieh refused citing his superiors’ instructions.

       276.    Ghalieh again suggested a cashier’s check, and represented to Joseph Daou that the

check could be deposited in the United States. Ghalieh also advised Joseph Daou that CL Bank

was not subject to any insolvency proceeding, and represented to Joseph Daou that Ghalieh

confirmed with CL Bank’s headquarters, specifically Michel Khadige, Executive Board Member

and Deputy General Manager of Corporate Banking and Financial Institutions at CL Bank, that

Plaintiffs could deposit the cashier’s check in the United States.

       277.    On November 21, 2019, Joseph Daou once again appeared in the Jounieh branch

of CL Bank to demand that CL Bank follow Plaintiffs’ instructions and execute the wire transfer

Plaintiffs first requested in September 2019. Joseph Daou also wrote to Ghalieh that day

demanding the wire transfer of the balance in Plaintiffs’ accounts.

       278.    On November 21, 2019, Ghalieh, CL Bank branch manager, again proposed that

CL Bank would deliver a cashier’s check drawn against BDL and represented to Joseph Daou that

Plaintiffs could deposit the check in the United States.

       279.    On November 21, 2019, CL Bank presented Joseph Daou with a cashier’s check

drawn by BDL against BDL in the amount of $5,300,000.00 USD. The check was signed by

Ghalieh and another representative of CL Bank. The account transfer debit advice states “Deposit

in USA.” The copy of the check stated “Original Received. To be deposited and authorized in the

                                                 44
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 45 of 96




USA. Declined to make a wire transfer.” The copy of this statement was signed and stamped by

Ghalieh.

       280.    At the time CL Bank issued the check, CL Bank knew Plaintiffs would send the

check to the United States via DHL Courier for deposit in the United States.

       281.    On behalf of CL Bank, Ghalieh assured Joseph Daou that the cashier’s check could

be deposited by Plaintiffs in the United States, and that there were sufficient funds on deposit with

BDL for the check to clear.

       282.    CL Bank’s representations that the check was valid and could be deposited in the

United States were knowingly false when made. CL Bank had already agreed with BDL and the

other banks to not permit USD withdrawals or transfers outside Lebanon for non-politically

connected depositors, including Plaintiffs.

       283.    CL Bank knew that Plaintiffs would be depositing the check in the United States

for immediate deployment for Plaintiffs’ real estate investments.

       284.    Despite knowing that BDL and CL Bank issued Plaintiffs a bad check that would

never be honored, CL Bank deducted the amount of the worthless check from Plaintiffs’ CL Bank

account.

       285.    Plaintiffs deposited the $5,300,000.00 USD check drawn by BDL against BDL at

Huntington National Bank.

       286.    Huntington National Bank acknowledged on December 4, 2019 that it was

attempting to clear the check, but BDL refused to honor the check, just as BDL and CL Bank

always intended.


                                                 45
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 46 of 96




       287.    On December 23, 2019, Huntington National Bank wrote to Plaintiffs and advised

Plaintiffs that the reason for rejection was: “The check is being returned unpaid for reason of

LEBANON IS NOT ACCEPTING CHECKS FOR COLLECTIONS. CHECKS MUST BE

PRESENTED AT LOCAL BANK IN LEBANON.”

       288.    Plaintiffs subsequently attempted to deposit the $5,300,000.00 USD check with

Bank of America on December 30, 2019.

       289.    However, on January 7, 2020, Bank of America returned the $5,300,000.00 USD

check. Bank of America wrote: “We’re unable to process your collection item for the following

reason: The financial institution that the check is drawn on no longer supports presentments for

payment.”

       290.    BDL used wire communications to the United States banks to fraudulently dishonor

the check issued to Plaintiffs.

       291.    Notably, Bank of America also wrote to Plaintiffs: “If you have concerns about the

check being returned, you may contact the maker of the check and request an alternate payment

method, such as a cashier’s check or money order; or a wire or ACH funds transfer.” Of course,

that is exactly what Plaintiffs had attempted, but which Defendants steadfastly refused.

       292.    On December 2, 2019, CL Bank issued a further check to Plaintiffs in the amount

of $40,180.00 USD. CL Bank handed the check to Plaintiffs’ agent in Lebanon knowing Plaintiffs’

agent would use the mails to deliver the check to the United States for deposit by Plaintiffs in the

United States. The drawer of the check was BDL, and BDL was the drawee.

       293.    On December 11, 2019, Plaintiffs attempted to deposit the $40,180.00 USD check

in BMO Harris Bank N.A.
                                                46
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 47 of 96




       294.    BDL refused to honor the $40,180.00 USD check.

       295.    BMO Harris Bank N.A. rejected the $40,180.00 USD check, stating that the check

could not be negotiated outside Lebanon.

       296.    On December 30, 2019, Plaintiffs attempted to deposit the $40,180.00 USD check

in Bank of America.

       297.    On January 7, 2020, Bank of America returned the $40,180.00 USD check to

Plaintiffs. Bank of America wrote: “We’re unable to process your collection item for the following

reason: The financial institution that the check is drawn on no longer supports presentments for

payment.”

       298.    Despite the fact that CL Bank knew the two checks drawn against BDL were

worthless, CL Bank deducted the amounts of the check from Plaintiffs’ CL Bank accounts.

       299.    BDL and CL Bank purposefully and knowingly passed bad checks to United States

citizens for deposit in the United States in furtherance of their conspiracy to defraud Plaintiffs and

misappropriate their USD.

       300.    BDL made false statements to the United States banks via wire communications

claiming that the checks could not be deposited in the United States, despite the fact that CL Bank

represented to Plaintiff that they could and despite the fact that BDL was under no legal obligation

to dishonor the checks.

       301.     After the checks were dishonored, Plaintiffs’ Lebanese counsel issued a demand

letter to CL Bank to execute a wire transfer of Plaintiffs’ USD to Plaintiffs’ United States bank

account.


                                                 47
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 48 of 96




       302.    CL Bank refused, and spitefully will not even allow Plaintiffs to access their

account at CL Bank.

       Plaintiffs’ Deposits with AM Bank

       303.    AM Bank was established in 1980 and is today one of the largest commercial banks

in Lebanon.

       304.    For USD transactions, AM Bank uses its correspondent bank account at Bank of

New York Mellon, N.A. in New York.

       305.    As of December 2, 2019, Joseph Daou had a preexisting friendship through a

mutual friend with AM Bank’s Vice President of International Business Development, Youssef

Hanna El-Khoury.

       306.    Plaintiffs had not previously done business with AM Bank because El-Khoury and

AM Bank had not previously offered Plaintiffs interest rates equal to what was offered by BLC

Bank and CL Bank (i.e., approximately ten percent) for short-term maturity accounts.

       307.    On December 2, 2019, El-Khoury solicited Joseph Daou to deposit USD with AM

Bank. This time, El-Khoury offered AM Bank to pay interest of eleven percent on Plaintiffs’

deposit, and represented to Joseph Daou that Plaintiffs could withdraw or transfer their USD

outside Lebanon in early January. Specifically, El-Khoury represented to Joseph Daou that it

would be beneficial for him and AM Bank to have Plaintiffs’ USD on deposit through the end of

the 2019 but that Plaintiffs could withdraw or transfer their USD outside Lebanon in early January

so Plaintiffs could deploy their USD for their funding obligations for the real estate transactions

they were closing.



                                                48
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 49 of 96




       308.   Joseph Daou clearly informed El-Khoury that he was only interested in a short-term

deposit so that he could wire transfer the money to the United States to satisfy a real estate

investment funding obligation due in January 2020.

       309.   El-Khoury assured Joseph Daou that AM Bank will initiate the requested wire

transfer after New Year’s Day in 2020.

       310.   El-Khoury, on behalf of AM Bank, represented to Joseph Daou that he would earn

a high rate of interest on his short-term deposit and that Joseph Daou could then withdraw the

money in early January 2020.

       311.   El-Khoury, on behalf of AM Bank, represented to Joseph Daou that AM Bank was

in sound financial condition and even showed Joseph Daou purported financial statements of AM

Bank to assure him of the bank’s soundness.

       312.   On December 3, 2019, in reliance on AM Bank’s representations, Joseph Daou,

while physically present in Lebanon, opened a bank account at AM Bank through its branch in

Jounieh. AM Bank’s Jounieh Branch Manager, under the supervision of El-Khoury, opened the

account on AM Bank’s behalf.

       313.   On December 3, 2019, upon opening the account, Joseph Daou deposited

$5,735,928.67 USD into his account.

       314.   On December 13, 2019, upon Joseph Daou’s return to the United States and during

his tour of the secured properties in Texas, Joseph Daou communicated with El-Khoury and sent

him the information related to the investment in the multi-family properties in Austin, Texas and

Houston, Texas that Plaintiffs had secured. Joseph Daou explained to El-Koury that Plaintiffs

required transfer of their USD on deposit with AM Bank to the United States so that Plaintiffs
                                               49
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 50 of 96




could meet their funding obligations for this upcoming closing on a real estate transaction in the

United States, as previously discussed at the time of the opening of the account.

       315.    El-Khoury again assured Joseph Daou that AM Bank will initiate the requested wire

after New Year’s Day 2020.

       316.    In December 2019, Joseph Daou, while in the United States, sought to open a joint

account for Plaintiffs at AM Bank.

       317.    Under the supervision of El-Khoury, Chirine Aoun, AM Bank’s Jounieh Branch

Manager, opened the joint bank account for Plaintiffs and delivered the opening documents to

Plaintiffs’ residence in Clearwater Beach, Florida via DHL Courier. Documents included but were

not limited to KYC documents and FATCA compliance forms identifying Plaintiffs as United

States citizens and residents.

       318.    From this point forward, all communications to Plaintiffs by AM Bank were wire

communications directed into the United States, including the false representations by El-Khoury

of AM Bank described below.

       319.    On January 3, 2020, Joseph Daou emailed El-Khoury instructing AM Bank to

initiate the wire transfer to the United States of Plaintiffs’ USD.

       320.    El-Khoury responded to Joseph Daou that El-Khoury had to wait for AM Bank

Chief Executive Officer, Marwan Kheireddine, to return from a trip on January 7 or 8, 2020 so

Kheireddine could approve the wire transfer.

       321.    On January 11, 2020, AM Bank advised Plaintiffs through El-Khoury that, at the

direction of BDL, AM Bank was unilaterally and unlawfully lowering Plaintiffs’ interest rate to


                                                 50
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 51 of 96




five percent. AM bank also informed Joseph Daou that the interest payment of the five percent

would be made partially in Lebanese Lira and not completely in USD.

       322.    On January 12, 2020, Joseph Daou emailed El-Khoury again to follow up on his

wire transfer instruction after learning that AM Bank Chief Executive Officer, Kheireddine, had

appeared on Lebanese national television acknowledging that the wire restrictions in Lebanon

were unlawful and fraudulent.

       323.    Joseph Daou inquired about AM Bank unilaterally and unlawfully lowering the

interest rate and informed El-Khoury that Plaintiffs were demanding an immediate wire transfer

of the full amount deposited at AM Bank to Plaintiffs’ bank account in the United States. Joseph

Daou also specifically objected to the interest payments being made in Lebanese Lira because

Plaintiffs funds on deposit were in USD.

       324.    On January 15, 2020, El-Khoury responded via email to Joseph Daou in the United

States stating that due to the external wire transfers restrictions in Lebanon, AM Bank refuses to

initiate any wire transfers of the Plaintiffs USD. El-Khoury also stated that the decision to

unilaterally and unlawfully lower the interest rate was made by BDL.

       325.    Joseph Daou again explained to El-Koury that Plaintiffs required transfer of their

USD on deposit with AM Bank to the United States so that Plaintiffs could meet their funding

obligations for an upcoming closing on a real estate transaction in the United States.

       326.    El-Koury via email to Joseph Daou in the Unites States responded that he would

need to inquire of his superiors about whether he could follow Plaintiffs’ instruction and execute

the wire transfer of Plaintiffs’ USD to the United States. El-Koury stated that he would have an

answer for Plaintiffs within one week.

                                                51
00
          Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 52 of 96




          327.   However, El-Khoury did not respond within one week. Therefore, between January

9 and 15, 2020, Joseph Daou repeatedly followed up with El-Koury imploring him to respond

about the interest issue and wire transfer instruction.

          328.   On January 15, 2020, El-Khoury responded via email that AM Bank would not

execute the wire instruction because “all the external transfers are restricted for the time being,”

and claimed that AM Bank was unilaterally reducing Plaintiffs’ interest rate at the direction of

BDL.

          329.   On January 17, 2020, while Joseph Daou was in Florida, El-Khoury and Joseph

Daou had a telephone conversation while Joseph Daou was in the United States during which El-

Khoury falsely represented to Joseph Daou that AM Bank would execute the wire transfer.

          330.   On January 23, 2020, Joseph Daou wrote to El Khoury once again requesting the

wire transfer so that Plaintiffs would have their USD available for Plaintiffs’ funding obligations

for their real estate transaction which was due to close in February 2020. Thus, Joseph Daou

instructed AM Bank to execute a wire transfer in the amount of $5,735,930.00, plus all accrued

interest on February 3, 2020 to Plaintiffs’ account at Huntington National Bank in the United

States.

          331.   AM Bank refused to comply with Plaintiffs’ instruction, and continued

misappropriating Plaintiffs’ USD.

          332.   From February 22, 2020 to February 29, 2020, Joseph Daou continued to demand

that AM Bank comply with Plaintiffs’ instruction and execute a wire transfer of Plaintiffs’ USD

to Plaintiffs’ account in the United States. Joseph Daou also continued to provide AM Bank with



                                                 52
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 53 of 96




notice of the fact that AM Bank’s ongoing unlawful misappropriation of Plaintiffs’ USD was

jeopardizing Plaintiffs’ pending real estate transaction in the United States.

       333.      AM Bank still refused to comply with Plaintiffs’ instruction and execute a wire

transfer of Plaintiffs’ USD to Plaintiffs’ account in the United States. Instead, in furtherance of

Defendants’ conspiracy, AM Bank suggested that Plaintiffs instead accept a cashier’s check drawn

by BDL against BDL which could be deposited by Plaintiffs in the United States.

       334.      On February 25, 2020, Karen Daou requested via E-mail to El-Khoury that

Plaintiffs’ funds be transferred from Joseph Daou’s savings account to Plaintiffs’ current joint

account. AM Bank complied with this instruction. AM Bank delivered the internal transfer

authorization form to Plaintiffs in the United States via DHL.

       335.      By March 4, 2020, AM Bank’s continuous unlawful refusal to execute the wire

transfer had coerced Plaintiffs into accepting a cashier’s check which AM Bank assured Plaintiffs

could be deposited in the United States. While Plaintiffs were of course by now skeptical given

that BDL, BLC Bank, and CL Bank had already defrauded Plaintiffs with bad BDL checks, they

had no choice but to try. AM Bank was misappropriating Plaintiffs’ USD and unequivocally stated

repeatedly for two months that it would not execute a wire transfer.

       336.      AM Bank represented to Plaintiffs that Plaintiffs could deposit the check in the

United States.

       337.      In reliance on AM Bank’s representations, on March 4, 2020 Joseph Daou wrote to

El-Koury as follows: “per our phone conversation since your bank declined to make a wire transfer

to the USA, I would have to accept a bank check drawn on Bank Du Liban (BDL). The check will

be valid to deposit in USA.”

                                                 53
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 54 of 96




        338.    On March 7, 2020, AM Bank issued a cashier’s check payable to Plaintiffs in the

amount of $5,811,500.00 USD. BDL was the drawer and drawee of the $5,811,500.00 USD check.

The check was signed by El-Khoury and Aoun of AM Bank. The check was delivered to Plaintiffs’

representative in Lebanon who informed AM Bank that he would deliver the check to Plaintiffs in

the United States via DHL Courier. The copy of the check stated “Accepted check since declined

to wire transfer. Valid to deposit in the USA.” The copy of this statement was stamped with a bank

stamp by Aoun.

        339.    At the time AM Bank and BDL issued the $5,811,500.00 USD check to Plaintiffs,

AM Bank and BDL knew and intended that BDL would dishonor the $5,811,500.00 USD check

when Plaintiffs tried to deposit it in the United States.

        340.    On March 10, 2020, Plaintiffs attempted to deposit the $5,811,500.00 USD check

with Fifth Third Bank in the United States.

        341.    On April 15, 2020, Fifth Third Bank returned the $5,811,500.00 USD check to

Plaintiffs advising Plaintiffs that the “Reason for return: Unable to clear – Refer to Maker.”

        342.    After the check was dishonored, Plaintiffs’ Lebanese counsel issued a demand letter

to AM Bank to execute a wire transfer of Plaintiffs’ USD to Plaintiffs’ United States bank account.

        343.    However, Am Bank unlawfully refused Plaintiffs’ demand.

                                       FIRST CAUSE OF ACTION

                                (Civil Conspiracy against All Defendants)

        344.    Plaintiffs repeat and incorporate by reference paragraphs 1 through 343 above as

if fully set forth and realleged herein.



                                                  54
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 55 of 96




       345.    From 2016 until 2019, Plaintiffs deposited USD in three Lebanese banks, namely

BLC Bank, CL Bank, and AM Bank.

       346.    By the end of 2019, Plaintiffs had more than $18,000,000.00 USD on deposit in

Lebanon at BLC Bank, CL Bank, and AM Bank.

       347.    In September 2019, Plaintiffs needed to withdraw the USD they had on deposit in

Lebanon to fund real estate investments opportunities they identified in the United States,

including three separate multi-family property investments in Florida, Virginia and Texas.

       348.    When Plaintiffs attempted to transfer their USD from their bank accounts in

Lebanon to the United States, however, they were confronted by the conspiracy within the

Lebanese banking system to hoard USD by intentionally misleading their depositors and

misappropriating their depositors’ USD.

       349.    Unbeknownst to Plaintiffs, Defendants had agreed to unlawfully refuse to allow

Plaintiffs and certain other USD depositors to transfer their USD outside Lebanon and to instead

misappropriate Plaintiffs’ USD for their own use to the exclusion of Plaintiffs.

       350.    Defendants had also agreed to make fraudulent misrepresentations to Plaintiffs to

carry out their scheme of hoarding USD in Lebanon and misappropriating Plaintiffs’ USD on

deposit with BLC Bank, CL Bank, and AM Bank to do so.

       351.    Defendants used wire communications, including emails, telephone calls, and text

messages, to make fraudulent misrepresentations to Plaintiffs and United States financial

institutions while Defendants misappropriated Plaintiffs’ USD in Lebanon.




                                                55
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 56 of 96




        352.     Defendants agreed to pass bad checks to Plaintiffs in the United States in violation

of United States law in order to carry out their scheme of misappropriating Plaintiffs’ USD.

        353.     Defendants agreed to use the mail (specifically, DHL Courier) to deliver fraudulent

account documents to Plaintiffs in the United States in violation of United States law in order to

carry out their scheme of misappropriating Plaintiffs’ USD.

        354.     Plaintiffs specifically advised the BLC Bank, CL Bank, and AM Bank that they

needed to transfer their USD to the United States to fund the real estate investment opportunities

they had secured.

        355.     Plaintiffs instructed BLC Bank, CL Bank, and AM Bank to transfer their USD on

deposit in Lebanon to their accounts in the United States. The banks were obligated to comply

with Plaintiffs’ lawful instructions.

        356.     Nevertheless, BLC Bank, CL Bank, and AM Bank unlawfully refused to execute

Plaintiffs’ wire transfer instructions.

        357.     Then, Defendants further defrauded Plaintiffs by knowingly issuing Plaintiffs bad

checks in the United States which were drawn on BDL.

        358.     Plaintiffs were reluctant to accept checks from BLC Bank, CL Bank, and AM Bank,

and repeatedly insisted that the banks execute wire transfers of Plaintiffs USD to accounts in the

United States.

        359.     BLC Bank, CL Bank, and AM Bank falsely represented to Plaintiffs that they were

unable to execute wire transfers, when in fact Lebanese banks including BLC Bank, CL Bank, and




                                                  56
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 57 of 96




AM Bank were regularly transferring USD outside of Lebanon, including for influential Lebanese

politicians, banks executives and shareholders, and other well-connected depositors.

        360.     Contrary to their false representations, BLC Bank, CL Bank, and AM Bank were

not subject to any genuine capital controls or any purported legal prohibition against following the

instructions of depositors like Plaintiffs to transfer the depositors’ USD outside Lebanon.

Regardless, capital controls, even if enacted in Lebanon, would not absolve Defendants of their

liability in this action.

        361.     BLC Bank, CL Bank, and AM Bank’s representations that they could not follow

Plaintiffs’ lawful instructions and execute transfers of Plaintiffs’ USD outside of Lebanon were

false and known to be false when made by BLC Bank, CL Bank, and AM Bank.

        362.     The Lebanese commercial banks, including BLC Bank, CL Bank, and AM Bank,

as well as BDL agreed to defraud USD depositors by having the commercial banks refuse to make

USD wire transfers outside Lebanon, but instead issue checks drawn on BDL.

        363.     The Lebanese commercial banks, including BLC Bank, CL Bank, and AM Bank,

are large creditors of BDL, having deposited billions of USD with the BDL.

        364.     BLC Bank, CL Bank, AM Bank, and BDL conspired to have BDL draw checks

for Plaintiffs as payees, issue the checks to Plaintiffs in the United States, and then refuse to honor

the checks after Plaintiffs deposited the checks with their United States banks despite Defendants’

contrary representations to Plaintiffs.

        365.     BLC Bank, CL Bank, and AM Bank represented to Plaintiffs that the banks

maintained USD on deposit with BDL to cover the amounts of checks drawn on BDL, and that



                                                  57
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 58 of 96




BDL would thus make good on the checks signed by BLC Bank, CL Bank, and AM Bank and

issued to Plaintiffs.

        366.    After repeated refusals by BLC Bank, CL Bank, and AM Bank to follow Plaintiffs’

instructions and execute wire transfers of Plaintiffs’ USD to Plaintiffs’ bank accounts in the United

States, BLC Bank, CL Bank, and AM Bank pressured Plaintiffs to instead accept cashier’s checks

drawn on BDL.

        367.    Plaintiffs specifically and repeatedly advised BLC Bank, CL Bank, and AM Bank

that they needed to deposit their USD in the United States for imminent real estate investment

opportunities that they would lose if they could not immediately withdraw their USD on deposit

in Lebanon and deposit and deploy the USD in the United States.

        368.     BLC Bank, CL Bank, and AM Bank knew that Plaintiffs needed their USD to be

transferred from Lebanon to the United States in order to perform their funding obligations for the

valuable real estate investment opportunities they had secured.

        369.    BLC Bank, CL Bank, and AM Bank fraudulently represented to Plaintiffs that

Plaintiffs could deposit the cashier’s checks drawn on BDL in the United States.

        370.    The representations by BLC Bank, CL Bank, and AM Bank that Plaintiffs could

deposit the cashier checks drawn on BDL in the United States were false and known to be false

when made by BLC Bank, CL Bank, and AM Bank.

        371.    The goal of Defendants’ conspiracy was fraudulently inducing USD deposits and

later misappropriating certain depositors’ USD so they could hoard USD in Lebanon, while

allowing influential depositors to transfer their USD outside Lebanon to safer markets as the

Lebanese banking crisis took hold in 2019 and continued in 2020.
                                                 58
00
          Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 59 of 96




          372.   Defendants agreed and intended to further defraud Plaintiffs, by issuing checks

drawn on BDL that BDL would refuse to honor when they were deposited outside Lebanon.

          373.   With their USD at risk in Lebanon, and with the urgent need for their USD in the

United States for the real estate investments they secured in the United States, Plaintiffs engaged

in discussions with BLC Bank, CL Bank, and AM Bank about accepting their USD in the form of

checks.

          374.   Plaintiffs insisted that the checks be negotiable in the United States.

          375.   BLC Bank, CL Bank, and AM Bank specifically represented to Plaintiffs that the

checks drawn on BDL would be negotiable in the United States.

          376.   These representations were false and known to be false by Defendants.

          377.   In reliance on BLC Bank, CL Bank, and AM Bank’s false representations, Plaintiffs

agreed to accept checks.

          378.   Defendants knew the checks they were issuing to Plaintiffs would be presented by

Plaintiffs in the United States.

          379.   Defendants knew that their banking relationships in the United States, and in

particular with correspondent banks in New York, would be utilized to effectuate the negotiation

of the checks issued to Plaintiffs for deposit in the United States.

          380.   When BLC Bank, CL Bank, and AM Bank issued the worthless checks to Plaintiffs,

they deducted the money from Plaintiffs’ accounts as if the checks were valid.

          381.   As Defendants intended, when Plaintiffs presented the checks for deposit in the

United States, BDL refused to honor the checks and Plaintiffs received none of their USD.

                                                   59
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 60 of 96




       382.    Plaintiffs therefore were unable to deploy their USD for the real estate investment

opportunities they had secured in Florida, Virginia, and Texas.

       383.    As a direct and proximate result of Defendants’ unlawful activity, Plaintiffs lost the

valuable real estate investment opportunities.

       384.    After their attempts to deposit the checks in the United States, Plaintiffs through

counsel demanded that BLC Bank, CL Bank, and AM Bank deliver their USD to the United States.

       385.    However, BLC Bank, CL Bank, and AM Bank have refused to honor Plaintiffs’

lawful instructions.

       386.    Defendants conspired to fraudulently and unlawfully misappropriate Plaintiffs’

USD and detain Plaintiffs’ USD in Lebanon by issuing BDL checks that could not be deposited

anywhere but in Lebanon, which is enduring a massive, self-inflicted banking crisis where

Plaintiffs’ USD remain in peril.

       387.    Defendants’ conspiracy to misappropriate Plaintiffs’ USD and issue bad checks to

Plaintiffs in the United States was a pervasive scheme that has caused and continues to cause

Plaintiffs vast damages.

       388.    Defendants’ conspiracy is ongoing, and is practiced against Plaintiffs and other

similarly situated depositors.

       389.    Defendants agreed to form a conspiracy pursuant to which they would fraudulently

misappropriate Plaintiffs’ USD for their own use to Plaintiffs’ exclusion through their repeated

fraudulent misrepresentations, fraudulent concealment, wire fraud, mail fraud, and knowingly

passing bad checks. Defendants continue to


                                                 60
00
          Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 61 of 96




          390.   BDL agreed to participate in the conspiracy as a commercial actor, including in the

context of its role as a debtor of BLC Bank, CL Bank, and AM Bank and in participating in the

commercial relationship between Plaintiffs and those banks. In addition, BDL has publicly stated

that the funds of depositors of Lebanese banks were safe and that Lebanon had not instituted any

capital controls such that BDL cannot possibly claim it was carrying out monetary policy when it

drew the bad checks to Plaintiffs for the purpose of Defendants’ misappropriating Plaintiffs’ USD.

Thus, BDL cannot avoid the consequences of its agreement to and participation in the conspiracy

under the Foreign Sovereign Immunity Act, 28 U.S.C. § 1602, et seq.

          391.   The pattern of unlawful activity in which Defendants engaged is strikingly

demonstrated through Defendants’ consistent and coordinated execution of their fraud across their

respective financial institutions.

          392.   Together, Defendants have stolen from Plaintiffs more than $18.5 million USD in

principal and accrued interest Plaintiffs had on deposit with BLC Bank, CL Bank, and AM Bank,

and interest continues to accrue.

          393.   In addition, Defendants’ conspiracy has caused Plaintiffs substantial damages to

their business due to Defendants’ conspiracy to fraudulently misappropriate Plaintiffs’ USD which

the conspirators knew was to be imminently invested by Plaintiffs in highly valuable real estate

investments Plaintiffs had secured but lost because of Defendants’ theft.

          394.   To carry out their brazen conspiracy, Defendants all directed their unlawful activity

into the United States, injuring United States citizens, and violating the United States wire fraud

and mail fraud statutes as well as state laws against knowingly passing bad checks in the United

States.


                                                  61
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 62 of 96




        395.     As a result of their conspiracy, Defendants are jointly and severally liable for the

damages suffered by Plaintiffs and the causes of action asserted by Plaintiff in this action to recover

their damages.

                                     SECOND CAUSE OF ACTION

                                      (Fraud against All Defendants)

        396.     Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 395 above as if fully repeated and set forth herein.

        397.     Plaintiffs are banking clients of BLC Bank, CL Bank, and AM Bank.

        398.     BLC Bank, CL Bank, and AM Bank fraudulently induced Plaintiffs to become

clients and deposit their USD with the banks, using the false representations of high interest rates

that were not paid (only accrued “on paper”) and ready access to their USD through transfers

outside Lebanon.

        399.     At all times, Defendants represented to Plaintiffs that their deposits were safe and

could be freely withdrawn or transferred so that Plaintiffs could satisfy their funding obligations

for their business activities.

        400.     The Lebanese banking system was stressed as depositors sought to withdraw USD

and transfer USD out of Lebanon for fear of a run on the banks.

        401.     BLC Bank, CL Bank, and AM Bank fraudulently induced Plaintiffs to deposit their

USD in Lebanon by falsely representing to Plaintiffs that they would pay high interest rates and

Plaintiffs could readily withdraw or transfer their USD outside Lebanon.




                                                  62
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 63 of 96




       402.    By the end of 2019, Plaintiffs had more than $18,000,000.00 USD on deposit with

BLC Bank, CL Bank, and AM Bank.

       403.    Plaintiffs needed to transfer their USD from Lebanon to the United States in order

to meet their funding obligations for three valuable multi-family real estate investments they

secured in Florida, Virginia, and Texas.

       404.    Plaintiffs expressly and repeatedly advised BLC Bank, CL Bank, and AM Bank

that Plaintiffs needed to transfer their USD from Lebanon to the United States in order to meet

their funding obligations for three valuable multi-family real estate investments they secured in

Florida, Virginia and Texas.

       405.    In the weeks and months that followed Plaintiffs’ requests to transfer their USD

from Lebanon to the United States, the Lebanese banking crisis was reaching a tipping point.

Defendants and other Lebanese banks responded by permitting connected politicians, bank

shareholders and executives and other influential depositors to transfer their USD out of Lebanon

while blocking most depositors through a variety of fraudulent and flagrantly unlawful measures.

       406.    Unbeknownst to Plaintiffs, Defendants were part of a conspiracy to hoard USD to

prevent depositors like Plaintiffs from withdrawing USD or transferring USD outside Lebanon.

       407.    Plaintiff delivered instructions to BLC Bank, CL Bank, and AM Bank to execute

wire transfers of Plaintiffs’ USD to Plaintiffs’ accounts in the United States.

       408.    BLC Bank, CL Bank, and AM Bank all repeatedly represented to Plaintiffs that

they had sufficient funds to and would execute the wire transfers as instructed by Plaintiffs.




                                                 63
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 64 of 96




       409.    These repeated representations by BLC Bank, CL Bank, and AM Bank were false

and known to be false by BLC Bank, CL Bank, and AM Bank when made.

       410.    Plaintiffs relied on these representations to continue expending resources on the

real estate acquisitions they secured in the United States, as Plaintiffs concurrently advised BLC

Bank, CL Bank, and AM Bank.

       411.    After misleading Plaintiffs for months with affirmative misrepresentations about

their ability and intentions to follow the lawful instructions from Plaintiffs in order to buy time

and attempt to gain leverage over Plaintiffs, BLC Bank, CL Bank, and AM Bank finally revealed

to Plaintiffs they would not be executing the wire transfers.

       412.    However, BLC Bank, CL Bank, and AM Bank’s representations to Plaintiffs that

they could not execute the wire transfers were false. Nothing prohibited BLC Bank, CL Bank, and

AM Bank from honoring Plaintiffs’ lawful instructions and executing the long overdue wire

transfers, except Defendants’ conspiracy to hoard Plaintiffs’ USD at Plaintiffs’ expense.

       413.    Defendants’ fraud continued when BLC Bank, CL Bank, and AM Bank repeatedly

and falsely represented to Plaintiffs that BLC Bank, CL Bank, and AM Bank could issue Plaintiffs

cashier’s checks drawn by and against BDL that Plaintiffs could deposit in the United States. This

was presented to Plaintiffs by BLC Bank, CL Bank, and AM Bank as the only way Plaintiffs could

obtain their USD for use in the United States.

       414.    When BLC Bank, CL Bank, and AM Bank represented to Plaintiffs that Plaintiffs

could deposit BDL’s cashier’s checks in the United States, Defendants knew BLC Bank, CL Bank,

and AM Bank’s representations were false because Defendants knew and intended that BDL would

dishonor the checks when Plaintiffs attempted to deposit them in the United States.

                                                 64
00
           Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 65 of 96




           415.   In reliance on BLC Bank, CL Bank, and AM Bank’s false representations, Plaintiffs

agreed to receive cashier’s checks drawn on BDL.

           416.   Upon issuing the checks, which Defendants all knew were worthless and not

negotiable in the United States, BLC Bank, CL Bank, and AM Bank reduced Plaintiffs’ balances

by the amount of the worthless checks and misappropriated the USD in Plaintiffs’ accounts.

           417.   BDL knowingly and intentionally drew bad checks to Plaintiffs in the United States

for deposit in the United States knowing it would dishonor the checks when Plaintiffs attempted

to negotiate the checks in the United States.

           418.   When Plaintiffs deposited the checks in the United States, BDL refused to honor

the checks as Defendants planned.

           419.   Defendants’ lengthy and ongoing fraud against Plaintiffs caused Plaintiffs to lose

the lucrative real estate acquisitions they had secured in the United States.

           420.   Defendants’ fraud has also caused Plaintiffs substantial damages from expenses

Plaintiffs’ incurred in furtherance of the real estate acquisitions Defendants’ fraud caused Plaintiffs

to lose.

           421.   Defendants’ fraud has also deprived Plaintiffs of the USD they deposited with BLC

Bank, CL Bank, and AM Bank, plus interest.

           422.   As a direct and proximate result of Defendants’ fraud, Plaintiffs have suffered and

continue to suffer damages in an amount to be determined at trial but presently believed to be well

in excess of $60,000,000.00.




                                                  65
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 66 of 96




                                      THIRD CAUSE OF ACTION

                 (Issuance of Dishonored Check against BLC Bank and BDL)

       423.    Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 422 above as if fully repeated and set forth herein.

       424.    Separate and independent of the obligations BLC Bank owed to Plaintiffs as

customers of BLC Bank, BLC Bank and BDL are liable to Plaintiffs for the checks at issue.

       425.    In 2016, Plaintiffs opened an account with BLC Bank and made several transfers

of USD into their BLC Bank account.

       426.    Beginning in or about September 2019, Plaintiffs sought to withdraw their USD on

deposit in Lebanon, including from BLC Bank, in order to use the USD for Plaintiffs’ funding

obligations for certain multi-family property investments in the United States.

       427.    Plaintiffs initially requested that their funds with BLC Bank be transferred to them

by wire transfer. But BLC Bank failed and refused to follow Plaintiffs’ instructions. Instead, BLC

Bank knowingly and falsely represented to Plaintiffs that issuance of a check was the only way for

Plaintiffs to collect their funds, in USD, in the United States.

       428.    BLC Bank represented that checks drawn by and against BDL could be deposited

in the United States, and that funds could be withdrawn and collected in the United States.

       429.    In light of BLC Bank’s unlawful failure to comply with Plaintiffs’ payment

instructions, and its fraudulent representations that a transfer to Plaintiffs could only be made by

check, Plaintiffs agreed to accept a transfer by check. Plaintiffs made it clear that they were only

accepting a check based on BLC Bank’s ongoing refusal to execute a wire transfer and BLC Bank’s



                                                  66
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 67 of 96




repeated assurances that the check drawn against BDL could be deposited by Plaintiffs in the

United States.

       430.      On November 28, 2019, BLC Bank issued a check to Plaintiffs in the amount of

$7,525,000.00 USD, which was drawn by BDL against BDL (the “BLC Check”). The BLC Check

was signed by Jean Clause Zakhia (BLC Bank’s Branch Manager), and another representative of

BLC Bank.

       431.      The BLC Check was payable to the order of Plaintiffs as payees.

       432.      The BLC Check contained an unconditional promise or order to pay a sum certain

— i.e., $7,525,000.00 USD — in money upon presentation of the BLC Check to a banking

institution. The BLC Check contained no other promise, order, obligation, or limitation on BLC

Bank or BDL’s authority to issue the BLC Check.

       433.      The BLC Check was payable in full, on demand, upon presentation to a bank in the

United States.

       434.      Although issued in Lebanon, BLC Bank and BDL knew that Plaintiffs intended to

deposit the BLC Check in the United States, with the expectation that the funds would be collected

in the United States. In fact, BLC Bank and BDL knew that the only reason Plaintiffs agreed to

accept the BLC Check was on the condition that it could be deposited in the United States.

       435.      BLC Bank’s upper management affirmatively, but fraudulently, represented to

Plaintiffs that their USD could be transferred out of Lebanon. Among other representatives, Samir

Khoury, the Director of all of BLC Bank’s branches, specifically advised Plaintiffs that the BLC

Check could be deposited in the United States and that Plaintiffs’ USD could be collected in the

United States.
                                                67
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 68 of 96




       436.      BLC Bank and BDL issued the BLC Check knowing full well that the check would

be deposited in the United States but that the check would not be honored by BDL. Nevertheless,

at no time did either BLC Bank or BDL disclaim liability for the BLC Check or advise Plaintiffs

that the check could not be deposited in the United States. Nor did BLC Bank and BDL advise

Plaintiffs that their funds could not be collected in the United States.

       437.      The BLC Check was sent and delivered to Joseph Daou via DHL Courier in the

United States.

       438.      Plaintiffs presented the BLC Check for payment by depositing it in the United

States. Specifically, Plaintiffs deposited the BLC Check in Huntington National Bank. However,

Huntington National Bank advised Plaintiffs that the check had been dishonored.

       439.      Plaintiffs then deposited the BLC Check at the Bank of America in Florida.

However, on January 7, 2020, Bank of America returned the BLC Check to Plaintiffs and advised

Plaintiffs that the check had been dishonored.

       440.      Plaintiffs have repeatedly and unsuccessfully demanded that BLC Bank and BDL

honor the BLC Check and make the payment owed to Plaintiffs thereunder. However, BLC Bank

and BDL have failed and refused to honor their obligations under the BLC Check.

       441.      The BLC Check constitutes a separate and independent valid and binding

agreement between BLC Bank, BDL, and Plaintiffs for payment of the amount specified in the

BLC Check.

       442.      BLC Bank and BDL are jointly and severally liable to pay the amounts due and

owing under the BLC Check, in an amount to be determined at trial but presently believed to be

well in excess of $7,525,000.00.
                                                 68
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 69 of 96




                                 FOURTH CAUSE OF ACTION

                  (Issuance of Dishonored Check against CL Bank and BDL)

       443.    Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 442 above as if fully repeated and set forth herein.

       444.    Separate and independent of the obligations CL Bank owed to Plaintiffs as

customers of CL Bank, CL Bank and BDL are liable to Plaintiffs for the checks at issue.

       445.    In 2016, Plaintiffs opened an account with CL Bank and made several transfers of

USD into their CL Bank account.

       446.    Beginning in or about September 2019, Plaintiffs sought to withdraw their USD on

deposit in Lebanon, including from CL Bank, in order to use the USD for Plaintiffs’ funding

obligations for certain multi-family property investments in the United States.

       447.    Plaintiffs initially requested that their funds with CL Bank be transferred to them

by wire transfer. But CL Bank failed and refused to follow Plaintiffs’ instructions. Instead, CL

Bank knowingly and falsely represented to Plaintiffs that issuance of a check was the only way for

Plaintiffs to collect their funds, in USD, in the United States.

       448.    CL Bank represented that checks drawn by and against BDL could be deposited in

the United States, and that funds could be withdrawn and collected in the United States.

       449.    In light of CL Bank’s unlawful failure to comply with Plaintiffs’ payment

instructions, and its fraudulent representations that a transfer to Plaintiffs could only be made by

check, Plaintiffs agreed to accept a transfer by check. Plaintiffs made it clear that they were only

accepting a check based on CL Bank’s ongoing refusal to execute a wire transfer and CL Bank’s



                                                  69
00
          Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 70 of 96




repeated assurances that the check drawn against BDL could be deposited by Plaintiffs in the

United States.

       450.      On November 21, 2019, CL Bank presented Joseph Daou with a check in the

amount of $5,300,000.00 USD, which was drawn by BDL against BDL (the “First CL Check”).

The First CL Check was signed by Michel Ghalieh (the Jounieh Branch Manager) and another

representative of BLC Bank.

       451.      On December 2, 2019, CL Bank issued a second check to Plaintiffs in the amount

of $40,180.00 USD (the “Second CL Check” and, together with the First CL Check, the “CL

Checks”). The Second CL Check was drawn by BDL against BDL. The Second CL Check was

signed by Ghalieh and another representative of BLC Bank.

       452.      The CL Checks were payable to the order of Plaintiffs as payees.

       453.      The CL Checks contained an unconditional promise or order to pay a sum certain

— i.e., $5,300,000.00 USD in the First CL Check, and $40,180 USD in the Second CL Check —

in money upon presentation of the CL Checks to a banking institution. The CL Checks contained

no other promise, order, obligation, or limitation on CL Bank or BDL’s authority to issue the CL

Checks.

       454.      The CL Checks were payable in full, on demand, upon presentation to a bank in the

United States.

       455.      Although issued in Lebanon, CL Bank and BDL knew that Plaintiffs intended to

deposit the CL Checks in the United States, with the expectation that the funds would be collected

in the United States. In fact, CL Bank and BDL knew that the only reason Plaintiffs agreed to

accept the CL Checks was on the condition that they could be deposited in the United States.
                                                 70
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 71 of 96




       456.      CL Bank’s upper management affirmatively, but fraudulently, represented to

Plaintiffs that their USD could be transferred out of Lebanon. Among other representatives,

Michel Khadige, a member of CL Bank’s Board of Directors, specifically advised Plaintiffs that

the CL Checks could be deposited in the United States and that Plaintiffs’ USD could be collected

in the United States.

       457.      CL Bank and BDL issued the CL Checks knowing full well that the checks would

be deposited in the United States but that the checks would not be honored by BDL. Nevertheless,

at no time did either CL Bank or BDL disclaim liability for the CL Checks or advise Plaintiffs that

the check could not be deposited in the United States. Nor did CL Bank and BDL advise Plaintiffs

that their funds could not be collected in the United States.

       458.      The CL Checks were sent and delivered to Joseph Daou via DHL Courier in the

United States.

       459.      Plaintiffs presented each of the CL Checks for payment by depositing them in the

United States. Specifically, Plaintiffs deposited the First CL Check in Huntington National Bank,

and subsequently in Bank of America. However, Huntington National Bank and Bank of America

advised Plaintiffs that the First CL Check had been dishonored.

       460.      Plaintiffs deposited the Second CL Check in BMO Harris Bank N.A. and

subsequently in Bank of America. However, BMO Harris Bank and Bank of America advised

Plaintiffs that the Second CL Checks had been dishonored.

       461.      Plaintiffs have repeatedly and unsuccessfully demanded that CL Bank and BDL

honor the CL Checks and make the payment owed to Plaintiffs thereunder. However, CL Bank

and BDL have failed and refused to honor their obligations under the CL Checks.

                                                 71
00
          Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 72 of 96




       462.    Each of the CL Checks constitutes a separate and independent valid and binding

agreement between CL Bank, BDL, and Plaintiffs for payment of the amounts specified in the CL

Checks.

       463.    CL Bank and BDL are jointly and severally liable to pay the amounts due and owing

under the CL Checks, in an amount to be determined at trial but presently believed to be well in

excess of $5,340,180.00.

                                  FIFTH CAUSE OF ACTION

                 (Issuance of Dishonored Check against AM Bank and BDL)

       464.    Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 463 above as if fully repeated and set forth herein.

       465.    Separate and independent of the obligations AM Bank owed to Plaintiffs as

customers of AM Bank, AM Bank and BDL are liable to Plaintiffs for the checks at issue.

       466.    On or about December 3, 2019, Plaintiffs opened an account with AM Bank and

made a transfer of USD into their AM Bank account.

       467.    Beginning in or about December 13, 2019, Plaintiffs sought to withdraw their USD

on deposit in Lebanon, including from AM Bank, in order to use the USD for Plaintiffs’ funding

obligations for certain multi-family property investments in the United States.

       468.    Plaintiffs initially requested that their funds with AM Bank be transferred to them

by wire transfer. But AM Bank failed and refused to follow Plaintiffs’ instructions. Instead, AM

Bank knowingly and falsely represented to Plaintiffs that issuance of a check was the only way for

Plaintiffs to collect their funds, in USD, in the United States.



                                                  72
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 73 of 96




       469.      AM Bank represented that checks drawn by and against BDL could be deposited in

the United States, and that funds could be withdrawn and collected in the United States.

       470.      In light of AM Bank’s unlawful failure to comply with Plaintiffs’ payment

instructions, and its fraudulent representations that a transfer to Plaintiffs could only be made by

check, Plaintiffs agreed to accept a transfer by check. Plaintiffs made it clear that they were only

accepting a check based on AM Bank’s ongoing refusal to execute a wire transfer and AM Bank’s

repeated assurances that the check drawn against BDL could be deposited by Plaintiffs in the

United States.

       471.      On March 7, 2020, AM Bank issued a check to Plaintiffs in the amount of

$5,811,500.00 USD, which was drawn by BDL against BDL (the “AM Check”). The AM Check

was signed by Youssef Hanna El-Khoury (AM Bank’s Vice President of International Business

Development) and Chirine Aoun (AM Bank’s Jounieh Bank Manager).

       472.      The AM Check was payable to the order of Plaintiffs as payees.

       473.      The AM Check contained an unconditional promise or order to pay a sum certain

— i.e., $5,811,500.00 USD — in money upon presentation of the AM Check to a banking

institution. The AM Check contained no other promise, order, obligation, or limitation on BLC

Bank or BDL’s authority to issue the AM Check.

       474.      The AM Check was payable in full, on demand, upon presentation to a bank in the

United States.

       475.      Although issued in Lebanon, AM Bank and BDL knew that Plaintiffs intended to

deposit the AM Check in the United States, with the expectation that the funds would be collected



                                                73
00
           Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 74 of 96




in the United States. In fact, AM Bank and BDL knew that the only reason Plaintiffs agreed to

accept the AM Check was on the condition that it could be deposited in the United States.

       476.     AM Bank’s upper management affirmatively, but fraudulently, represented to

Plaintiffs that their USD could be transferred out of Lebanon. Among other representatives,

Marwan Kheireddine, AM Bank’s CEO, specifically provided the instructions to issue Plaintiffs

the AM Check to be deposited and collected in the United States.

       477.     AM Bank and BDL issued the AM Check knowing full well that the check would

be deposited in the United States but that the check would not be honored by BDL. Nevertheless,

at no time did either AM Bank or BDL disclaim liability for the AM Check or advise Plaintiffs

that the check could not be deposited in the United States. Nor did AM Bank and BDL advise

Plaintiffs that their funds could not be collected in the United States.

       478.     The AM Check was delivered to Plaintiffs’ representative in Lebanon who

informed AM Bank that he would deliver the check to Plaintiffs in the United States via DHL

Courier.

       479.     Plaintiffs presented the AM Check for payment by depositing it in the United

States. Specifically, Plaintiffs deposited the AM Check in Fifth Third Bank. However, Fifth Third

Bank advised Plaintiffs that the check had been dishonored.

       480.     Plaintiffs have repeatedly and unsuccessfully demanded that AM Bank and BDL

honor the AM Check and make the payment owed to Plaintiffs thereunder. However, AM Bank

and BDL have failed and refused to honor their obligations under the AM Check.

       481.     The AM Check constitutes a separate and independent valid and binding agreement

between AM Bank, BDL, and Plaintiffs for payment of the amount specified in the AM Check.
                                                 74
00
           Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 75 of 96




         482.   AM Bank and BDL are jointly and severally liable to pay the amounts due and

owing under the AM Check, in an amount to be determined at trial but presently believed to be

well in excess of $5,811,500.00.

                                   SIXTH CAUSE OF ACTION

     (Collection on Payment Instruments against All Defendants, Florida Statutes § 68.065)

         483.   Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 482 above as if fully repeated and set forth herein.

         484.   Defendants’ conspired to issue $18,676,680.00 in worthless checks to Plaintiffs in

Florida.

         485.   On November 21, 2019, CL Bank issued to Plaintiffs check number 036018/F in

the amount of $5,300,000.00 USD. BDL was the drawer and drawee.

         486.   On November 28, 2019, BLC Bank issued to Plaintiffs check number 115982/F in

the amount of $7,525,000.00 USD. BDL was the drawer and drawee.

         487.   On December 2, 2019, CL Bank issued to Plaintiffs check number 036022/F in the

amount of $40,180.00 USD. BDL was the drawer and drawee.

         488.   On March 7, 2020, Am Bank issued to Plaintiffs check number 443219/F in the

amount of $5,811,500.00.

         489.   Each of the checks constitute payment instruments within the meaning of Florida

Statutes § 68.065.

         490.   BDL stopped payment on the checks with the intent to defraud Plaintiffs.




                                                75
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 76 of 96




        491.    Despite due demand, Defendants have failed and refused to pay Plaintiffs the

amounts due and owing.

        492.    Plaintiffs are entitled to recover from Defendants the amounts due and owing.

        493.    In addition, pursuant to Florida Statutes § 68.065(3) Plaintiffs are entitled to recover

from Defendants triple the amount due and owing, plus attorneys’ fees and costs in an amount to

be determined at trial but presently believed to be well in excess of $80,000,000.00.

                                    SEVENTH CAUSE OF ACTION

                                 (Breach of Contract against BLC Bank)

        494.    Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 493 above as if fully repeated and set forth herein.

        495.    Plaintiffs and BLC Bank entered into an agreement pursuant to which Plaintiffs

agreed to deposit USD with BLC Bank.

        496.    BLC Bank agreed to pay Plaintiffs interest on their deposited USD.

        497.    In addition, BLC Bank agreed that Plaintiffs could withdraw or transfer their USD

(including accrued interest) from their account by providing instructions to BLC Bank.

        498.    Plaintiffs complied with their obligations under the agreement.

        499.    Plaintiffs repeatedly issued instructions to BLC Bank to transfer Plaintiffs USD and

accrued interest to Plaintiffs’ account in the United States.

        500.    In breach of the parties’ agreement, BLC Bank failed and refused to comply with

Plaintiffs’ instructions.



                                                  76
00
            Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 77 of 96




        501.     In fact, BLC Bank has in bad faith misappropriated all of Plaintiffs’ USD and

accrued interest.

        502.     As a result of BLC Bank’s breach, Plaintiffs have suffered and continue to suffer

damages in an amount to be determined at trial but presently believed to be well in excess of

$50,000,000.00.

                                     EIGHTH CAUSE OF ACTION

                                  (Breach of Contract against CL Bank)

        503.     Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 502 above as if fully repeated and set forth herein.

        504.     Plaintiffs and CL Bank entered into an agreement pursuant to which Plaintiffs

agreed to deposit USD with CL Bank.

        505.     CL Bank agreed to pay Plaintiffs interest on their deposited USD.

        506.     In addition, CL Bank agreed that Plaintiffs could withdraw or transfer their USD

(including accrued interest) from their account by providing instructions to CL Bank.

        507.     Plaintiffs complied with their obligations under the agreement.

        508.     Plaintiffs repeatedly issued instructions to CL Bank to transfer Plaintiffs USD and

accrued interest to Plaintiffs’ account in the United States.

        509.     In breach of the parties’ agreement, CL Bank failed and refused to comply with

Plaintiffs’ instructions.

        510.     In fact, CL Bank has in bad faith misappropriated all of Plaintiffs’ USD and accrued

interest.

                                                  77
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 78 of 96




        511.    As a result of CL Bank’s breach, Plaintiffs have suffered and continue to suffer

damages in an amount to be determined at trial but presently believed to be well in excess of

$50,000,000.00.

                                      NINTH CAUSE OF ACTION

                                 (Breach of Contract against AM Bank)

        512.    Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 511 above as if fully repeated and set forth herein.

        513.    Plaintiffs and AM Bank entered into an agreement pursuant to which Plaintiffs

agreed to deposit USD with AM Bank.

        514.    AM Bank agreed to pay Plaintiffs interest on their deposited USD.

        515.    In addition, AM Bank agreed that Plaintiffs could withdraw or transfer their USD

(including accrued interest) from their account by providing instructions to AM Bank.

        516.    Plaintiffs complied with their obligations under the agreement.

        517.    Plaintiffs repeatedly issued instructions to AM Bank to transfer Plaintiffs USD and

accrued interest to Plaintiffs’ account in the United States.

        518.    In breach of the parties’ agreement, AM Bank failed and refused to comply with

Plaintiffs’ instructions.

        519.    In fact, AM Bank has in bad faith misappropriated all of Plaintiffs’ USD and

accrued interest.




                                                 78
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 79 of 96




       520.    As a result of AM Bank’s breach, Plaintiffs have suffered and continue to suffer

damages in an amount to be determined at trial but presently believed to be well in excess of

$50,000,000.00.

                                    TENTH CAUSE OF ACTION

                                 (Conversion against All Defendants)

       521.    Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 520 above as if fully repeated and set forth herein.

       522.    Plaintiffs had on deposit specific, identifiable sums of money.

       523.    Plaintiffs’ deposits were fraudulently induced by Defendants BLC Bank, CL Bank,

and AM Bank.

       524.    Defendants issued worthless checks to Plaintiffs and misappropriated Plaintiffs’

USD on deposit for their own use and to the exclusion of Plaintiffs.

       525.    Plaintiffs had the right to possess and use their identifiable USD

       526.    Defendants intended to deprive Plaintiffs of their identifiable USD.

       527.    Defendants deprived Plaintiffs of their rights to use and possess their identifiable

USD.

       528.    As a direct and proximate result of Defendants’ conversion of Plaintiffs’ personal

property, Plaintiffs have been damaged in an amount to be determined at trial but presently

believed to be well in excess of $50,000,000.00.




                                                79
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 80 of 96




                                   ELEVENTH CAUSE OF ACTION

                      (In the alternative, Unjust Enrichment against All Defendants)

       529.    Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 528 above as if fully repeated and set forth herein.

       530.    Defendants have been unjustly enriched by their misappropriation of Plaintiffs’

USD, plus interest.

       531.    Defendants have been unjustly enriched by their misappropriation of Plaintiffs’

USD, plus interest, at Plaintiffs’ expense.

       532.    It would be against equity and good conscience to permit Defendants to retain what

they have misappropriated from Plaintiffs.

       533.    As a direct and proximate result of Defendants’ unjust enrichment, Plaintiffs have

been damaged in an amount to be determined at trial but presently believed to be well in excess of

$20,000,000.00.

                                    TWELFTH CAUSE OF ACTION

                   (In the alternative, Promissory Estoppel against All Defendants)

       534.     Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 533 above as if fully repeated and set forth herein.

       535.    Defendants represented to Plaintiffs that Plaintiffs could freely withdraw their USD

from their accounts or transfer their USD from their accounts to bank accounts outside Lebanon.

       536.    Defendants’ issued checks to Plaintiffs representing that the checks were valid and

could be deposited in the United States.


                                                80
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 81 of 96




       537.    Plaintiffs reasonably relied upon Defendants’ representations.

       538.    Plaintiffs proceeded with their real estate investments, forming new banking

relationships, and other commercial activity, in detrimental reliance upon Defendants’

representations.

       539.    Defendants refused to honor their representations to Plaintiffs, and Defendants

never allowed Plaintiffs to access their USD on deposit in Lebanon.

       540.    In detrimental reliance on Defendants’ misconduct, Plaintiffs have been damaged

in an amount to be determined at trial but presently believed to be well in excess of $50,000,000.00.

                                 THIRTEENTH CAUSE OF ACTION

                       (Violations of the Racketeer Influenced and Corrupt
                   Organizations Act, 18 U.S.C. § 1962(c) against All Defendants)

       541.    Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 540 above as if fully repeated and set forth herein.

       542.    Defendants are part of an ongoing enterprise formed within the Lebanese banking

system, which is comprised of commercial and retail Lebanese banks and BDL as the central bank.

       543.    By early 2015, Lebanese banks began recognizing depleting USD deposits, which

strained the system as the banks’ interest obligations increased.

       544.    BDL and the commercial banks needed to adjust their business model, which would

have revealed the false premise on which the BDL engineered the banking system and the

shareholders and executives of the commercial banks would have no longer been able to enrich

themselves to same extent.



                                                 81
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 82 of 96




       545.    Because BDL and the commercial banks were intent on keeping a curtain over the

growing problem so they could continue to enrich themselves notwithstanding the unsustainability

of their policies, they did not alter their business model.

       546.    Instead, BDL and the commercial agreed that they would engage in an illegal

scheme to cover up and delay the self-created and looming crisis, all so that they could cover up

their failed policies and continue enriching themselves.

       547.    BDL and the commercial banks, including the defendant-commercial banks, agreed

they would offer even higher interests to lure new deposits and to induce depositors to retain their

deposits in Lebanon, knowing the banks could never sustain the interest payments. BDL and the

commercial banks agreed they would project strength and health for the Lebanese banking system

they knew was facing an imminent liquidity crisis.

       548.    The conspirators agreed to specifically target people of Lebanese descent living

abroad, particularly United States citizens and residents.

       549.    They agreed to use illegal means to carry out their conspiracy, including by making

fraudulent misrepresentations and theft, all so the BDL executives and the shareholders and

executives could further enrich themselves at the expense of their victims, which included

depositors, borrowers and Lebanon.

       550.    The commercial banks used the Association of Banks to coordinate their scheme

with each other and BDL and to communicate instructions for carrying out the scheme. The

Association of Banks may have once been a legitimate organization of the chief executives of the

commercial banks in Lebanon, but the commercial banks and BDL started to use it as an

instrumentality of their unlawful scheme.

                                                  82
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 83 of 96




       551.    In furtherance of their scheme, Lebanese banks began offering extremely high

interest rates to attract USD depositors both within Lebanon and abroad to feed the failing system

and further their scheme. As BDL and the commercial banks knew, the payment of the inflated

interest rates was unsustainable, and when the flood of new USD deposits waned, the Lebanese

banking system collapsed.

       552.    The conspirators’ scheme engineered the theft of tens of billions of dollars from

over two and a half million people, including thousands of United States citizens and residents.

       553.    The enterprise had and continues to have as its purpose, fraudulently retaining

existing depositors and fraudulently inducing new depositors to make foreign currency deposits in

Lebanon through, among other incentives, unsustainably-high interest rates, and retaining those

foreign currency deposits. Existing and new deposits of USD currency were obtained in order to

propagate the Ponzi scheme perpetuated by Lebanon’s banks and to delay the inevitable

consequence of the enterprise’s financial engineering. BDL and Lebanon’s commercial banks

systematically worked together to restrict and prohibit withdrawals of USD from Lebanese banks

and restrict and prohibit USD transfers outside Lebanon.

       554.    Upon inducing depositors to deposit their USD in Lebanon, it was a further goal of

the enterprise to induce depositors to convert the USD into Lebanese Lira, in return for which the

depositors were promised even higher (and even more unsustainable) interest rates. Once the

depositors converted their USD to Lira, it was time for the participants of the enterprise and the

engineers of the ongoing Ponzi scheme in the Lebanese banking system to bail themselves out.

They were left with no alternative other than a complete devaluation of the Lebanese Lira and to

completely erase any of the remaining value held by these depositors.


                                               83
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 84 of 96




        555.   This is what we are witnessing now in the Lebanese financial crisis, as the “official”

exchange rate is advertised by BDL to be approximately 1,507 Lira to $1 USD, whereas in reality,

the actual exchange rate is fluctuating between 7,000 to 10,000 Lira to $1 USD.

        556.   Thus, while Lebanon’s commercial banks (and those benefiting from their

association with, and employment by, these banks) were able to continue to hoard valuable USD,

depositors who exchanged their USD into Lira were left with an almost worthless local Lebanese

currency.

        557.   Nonetheless, victims of this enterprise that are still holding USD in deposit within

the Lebanese banking system have no way to access their money without first converting to

Lebanese Lira at highly discounted rates. Depositors have been left at the mercy of an enterprise

that has deprived the innocent depositors of their hard-earned savings, with no alternatives for the

depositors to access their money.

        558.   Plaintiffs chose to keep their deposits in USD and earn far less interest even when

they were offered lucrative interest rates by the Defendants to convert their USD to Lira.

        559.   Since the participants of the enterprise could not devalue the USD that the Plaintiffs

held, the participants took an alternative approach of issuing fraudulent worthless checks to the

Plaintiffs.

        560.   In the period before the full picture of the Ponzi scheme run by Lebanon’s banks

began to emerge, the banks made generous distributions to their shareholders. The banks actively

sought to hide and delay the imminent banking crisis in Lebanon for as long as possible so they

could continue to enrich themselves.



                                                84
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 85 of 96




       561.     Lebanon’s commercial banks, including Defendants, accomplished the purpose of

the enterprise by targeting, among others, U.S. citizens of Lebanese descent (such as Plaintiffs) to

make foreign currency deposits and then persuading the depositors not to withdraw their money

from Lebanon.

       562.     Defendants made false statements about the interest that depositors could expect to

earn from their deposits, as Defendants knew full well that the depositors were highly unlikely to

recover the interest that would be earned on the deposits.           Defendants also made false

representations about the safety of the deposits and the transferability of USD outside of Lebanon.

Defendants made these misrepresentations in order to induce new deposits and to retain existing

deposits of USD.

       563.     Lebanon’s commercial banks, including BLC Bank, CL Bank, and AM Bank,

benefited from the enterprise by prolonging their appearance as healthy financial institutions so

that the shareholders and executives of the banks could continue reaping high but unwarranted

compensation and distributions.

       564.     BDL benefited from the enterprise by shielding the Ponzi scheme it had fostered

from public view and attempting to delay the imminent collapse of the Lebanese banking system.

       565.     While Lebanon’s commercial banks, including BLC Bank, CL Bank, and AM

Bank, promised unsustainably high interest rates to existing and new depositors, the banks

purchased bonds from BDL, and in return for these investments, BDL promised to pay the

commercial banks interest rates that were even higher than those that the commercial promised to

pay depositors like Plaintiffs.




                                                85
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 86 of 96




       566.    A debtor/creditor relationship existed between the commercial banks who

deposited money with, and purchased bonds from, BDL. The commercial banks that have deposits

with BDL were aware of the imminent banking crisis in Lebanon.

       567.    BDL offered bonds to the Lebanese commercial banks because BDL had

insufficient liquidity to meet its financial obligations. As a result, BDL needed the commercial

banks to step in and provide the necessary liquidity (which the banks obtained from the depositors

like Plaintiffs). By receiving high interest rates from BDL (rates that were even higher than those

the banks offered their depositors), BDL and the banks create the false appearance that the

commercial banks were profiting from their investment with BDL.

       568.    In reality, Lebanon’s commercial banks were insolvent.

       569.    BDL and the Lebanese commercial banks, including BLC Bank, CL Bank, and AM

Bank, formed a relationship to defraud existing and new depositors, like Plaintiffs. Their scheme

was temporarily effective in luring and retaining tens of billions of deposits from unwitting

depositors, thousands of which are residents and/or citizens of the United States, like Plaintiffs.

       570.    The commercial banks, including BLC Bank, CL Bank, and AM Bank, are

members of the Association of Banks in Lebanon (the “Association of Banks”). The Association

of Banks consists of a group of commercial banks, which are represented in the group by the banks’

respective business leaders. The Association of Banks helped facilitate the scheme against foreign

depositors, including Plaintiffs. While the Association of Banks may have had a legitimate

purpose at the time of its inception, it ultimately became a mere vehicle for communicating

instructions and coordinating plans for continuing Defendants’ racketeering activities.




                                                 86
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 87 of 96




       571.    The enterprise effectively transformed the Lebanese banking system into a Ponzi

scheme. Like the Madoff scandal of 2008, it took a crisis—i.e., the ongoing financial crisis in

Lebanon’s banking sector—to bring the full scope and intent of Defendants’ scheme to light.

       572.    At least as early as 2014, the heads of Lebanon’s commercial banks, including those

at BLC Bank, CL Bank, and AM Bank, as well as BDL were aware of the problems, and likely

eventual collapse, caused by Ponzi scheme they were perpetrating. BDL and the commercial

banks, including BLC Bank, CL Bank, and AM Bank, formed their RICO enterprise in or about

early 2015 to hide the Ponzi scheme by delaying the collapse so that the BDL officials and

commercial bank shareholders and executives could continue to enrich themselves.

       573.    Defendants have participated in the operation and management of the enterprise,

including by designing, directing, and executing transactions and strategies in furtherance of the

purpose of the enterprise.

       574.    The enterprise affects interstate commerce and foreign commerce.

       575.    Defendants formed vehicles for the commission of multiple predicate acts of mail

and wire fraud. The conduct of Defendants’ enterprise is ongoing in nature, over an extended and

ongoing period of time.

       576.    Defendants conducted and participated in the enterprise through a pattern of

racketeering in violation of 18 U.S.C. § 1962(c). Defendants have violated and continue to violate

18 U.S.C. § 1962(c) by being associated with the enterprise, which affects interstate and foreign

commerce, and participating, directly or indirectly, in the conduct of the enterprise’s affairs

through a pattern of racketeering activity.



                                               87
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 88 of 96




       577.    Each of BLC Bank, CL Bank, and AM Bank have committed wire fraud and mail

fraud to further their scheme to misappropriate depositors’ (including Plaintiffs’) USD and

perpetuate their Ponzi scheme.

       578.    An essential part of Defendants’ scheme was to retain existing deposits and procure

new depositors to maintain a flow of foreign currency, especially USD, into Lebanon. Jean Claude

Zakhia (BLC Bank’s Branch Manager) reached out to Joseph Daou as early as 2016 to solicit him

to deposit USD with BLC Bank. In follow up communications between Joseph Daou, Zakhia and

other bank staff, BLC Bank falsely represented that Plaintiffs would earn substantial interest from

their deposits while they would still be permitted to readily withdraw or transfer their USD outside

of Lebanon.

       579.    Nadim Issa (Regional Manager at CL Bank) reached out to Joseph Daou as early

as March 2016, when Issa and Daou held in-person meeting during which Issa pursued Joseph

Daou as a client to solicit him to deposit USD in Lebanon. In follow up communications, Issa

falsely represented that Plaintiffs would earn substantial interest from their deposits, as well as that

they could readily withdraw or transfer their USD outside of Lebanon.

       580.    Like BLC Bank and CL Bank, AM Bank was soliciting foreign investors as early

as 2016 to deposit foreign currency in Lebanon based on promises of high interest rates and ability

to withdraw or transfer currency outside of Lebanon. On December 2, 2019, Youssef Hanna El-

Khoury (AM Bank’s Vice President of International Business Development) solicited Joseph Daou

to deposit USD with AM Bank, and promised to pay interest of eleven percent (11%) on Plaintiffs’

deposits. In follow up communications, El-Khoury falsely represented that that Plaintiffs could

withdraw or transfer their USD outside of Lebanon.



                                                  88
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 89 of 96




       581.    In addition to soliciting Plaintiffs to deposit USD in Lebanon, each of BLC Bank,

CL Bank, and AM Bank repeatedly attempted to induce Plaintiffs into converting their deposited

USD into Lira. That way, while Defendants would be able to have Plaintiffs’ USD, Plaintiffs

would be left with weak and unstable Lira, which Defendants knew to be almost entirely worthless.

Plaintiffs, however, refused the banks’ overtures to convert Plaintiffs’ USD into Lira.

       582.    Given BLC Bank, CL Bank, and AM Bank’s promises of transferability of

Plaintiffs’ deposits outside of Lebanon, each of the banks effectively represented to Plaintiffs that

the banks maintained international correspondent banking relationships, including in the United

States, that would enable BLC Bank, CL Bank, and AM Bank to transfer money outside of

Lebanon for withdrawal and collection in the United States.

       583.    BLC Bank, CL Bank, and AM Bank were legally bound by their repeated promises

and guarantees to Plaintiffs that Plaintiffs’ deposits could be transferred out of Lebanon and

collected in the United States.

       584.    As part and parcel of their unlawful enterprise, Defendants all used the same pattern

of fraudulent and intentionally misleading representations.         Defendants repeatedly assured

Plaintiffs that the banks were in good financial condition, and that there would be no barriers to

transferring Plaintiffs’ deposits by wire transfer to the United States. Defendants, however, had

no intention of honoring Plaintiffs’ wire transfer requests and allowing Plaintiffs’ to withdraw their

USD outside of Lebanon.

       585.    When Plaintiffs’ refused to “go away” and continued to insist on withdrawing their

deposits in the U.S., Defendants issued worthless checks that they knew would be delivered to,

and deposited in, the U.S. and that these checks would not be honored by BDL.


                                                 89
00
         Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 90 of 96




        586.    Given that BLC Bank, CL Bank, and AM Bank were authorized to issue checks

drawn by BDL and drawn against BDL, the scheme was perpetrated in coordination among all of

the Defendants, including BDL.

        587.    When Plaintiffs complained about the worthless checks, Defendants provided the

deceitful excuse that the banks allegedly “satisfied” their obligations upon issuing the worthless

checks. BLC Bank and CL Bank deducted the check amounts from Plaintiffs’ accounts, even

though Plaintiffs could not collect their funds in the United States. AM Bank likewise deducted

the check amount from Plaintiffs’ account, but when Plaintiffs returned the check because it had

been dishonored, AM Bank readjusted Plaintiffs’ account balance to include the check amount.

AM Bank then disingenuously claimed that Plaintiffs’ USD was still “available” in Lebanon

because the USD could be moved to a different Lebanese bank. This claim, however, contradicted

AM Bank’s prior representations that Plaintiffs’ deposits could be withdrawn outside of Lebanon.

        588.    In short, the coordination of unlawful activities by Defendants left Plaintiffs

without any viable remedy. Plaintiffs could not withdraw their USD outside of Lebanon. Their

only potential “option” was to transfer their funds to another Lebanese bank that was part of the

scheme, and which—like BLC Bank, CL Bank, and AM Bank—would not permit Plaintiffs to

withdraw their USD outside of Lebanon. Defendants’ reduced Plaintiffs’ deposits of USD into

meaningless numbers on the computer screens of Lebanese banks, with no ability by Plaintiffs to

actually collect USD either in the U.S. or in Lebanon, which was the basis of Plaintiff making the

deposits in the first place.

        589.    Moreover, to the extent depositors were convinced to convert their deposited USD

into Lira, it was the aim of the enterprise to leave such depositors with nothing more than a nearly

worthless local currency, while participants of the enterprise kept the USD for their own use.
                                                90
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 91 of 96




       590.   The multiple acts of mail and wire fraud in violation of 18 U.S.C. §.1341 that were

in furtherance of Defendant’s fraudulent schemes include:

           a. Using the United States mail, courier services and/or email and/or telephone to

              fraudulently induce Plaintiffs into depositing USD into Defendants’ banks;

           b. Using the United States mail, courier services and/or email and/or telephone to send

              Plaintiffs false and misleading statements that the more than $18,500,000.00 USD

              would be accessible to Plaintiffs for use in future business transactions;

           c. Using the United States mail, courier services and/or email and/or telephone to

              make false assurances to Plaintiff that the banks would execute the wire transfers

              as requested;

           d. Using the United States mail, courier services, and/or email and/or telephone to

              make false and misleading statements to Plaintiffs that the bad checks would be

              honored at a bank in the United States;

           e. Using the United States mail, courier services and/or email and/or telephone to

              purposefully and knowingly pass bad checks to Plaintiffs, United States citizens, in

              furtherance of their conspiracy to defraud Plaintiffs in furtherance of their

              fraudulent scheme;

           f. Using the United States mail, courier services and/or email and/or telephone to

              make false and misleading communications to Plaintiff to accept illusory checks

              knowing that the same would never be honored in the U.S., in an effort to insulate

              Defendants from the consequences of fraud;



                                               91
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 92 of 96




           g. Using the United States mail, courier services and/or email and/or telephone to

               make false and misleading communications intended to conceal, cover up and

               perpetuate Defendants continuous racketeering activity;

           h. Using the United States mail, courier services and/or email and/or telephone to mail

               back bad checks to the U.S. banks (at which Plaintiffs attempted to deposit the bad

               checks) after BDL refused to honor the bad checks when presented for payment in

               Lebanon; and

           i. Using the United States mail, courier services and/or email and/or telephone to

               fraud in furtherance of their conspiracy to defraud Plaintiffs and misappropriate

               more than $18,500,000.00 in principle and accrued interest from Plaintiffs’

               accounts.

       591.    Defendants violated the federal wire fraud statute, 18 U.S.C. § 1343, because

Defendants entered into a scheme to defraud Plaintiffs; all of Defendants actively participated in

the scheme to defraud Plaintiffs; all of Defendants had the specific intent to defraud Plaintiffs; and

Defendants have used and continue to use wires and mails in interstate and foreign commerce in

furtherance of their scheme to defraud Plaintiffs.

       592.    Defendants violated the federal mail fraud statute, 18 U.S.C. § 1341, because

Defendants entered into a scheme to defraud Plaintiffs; all of Defendants actively participated in

the scheme to defraud Plaintiffs; all of Defendants had the specific intent to defraud Plaintiffs; and

Defendants have used and continue to use the mails in interstate and foreign commerce in

furtherance of their scheme to defraud Plaintiffs.




                                                 92
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 93 of 96




       593.    Defendants’ scheme to defraud depositors, including Plaintiffs and other United

States citizens, including without limitation by passing bad checks through the mails and making

intentionally false statements over the wires is ongoing and pervasive.

       594.    Given the purpose of the enterprise, and the worsening situation of the banking

crisis in Lebanon, continual racketeering activity directed at United States victims is inevitable.

       595.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are persons injured in their business and

property by reason of Defendants’ RICO violations under 18 U.S.C. § 1962 as alleged herein.

       596.    To date, Plaintiffs’ deposits are still trapped in Lebanon, with no viable options for

withdrawing Plaintiffs’ USD outside of Lebanon. Plaintiffs’ have been, and continue to be,

harmed as a result of Defendants’ deliberate failure and refusal to return Plaintiffs’ USD.

       597.    The enterprise’s scheme continues to this day. Lebanon’s commercial banks now

acknowledge that USD previously deposited into Lebanon cannot be withdrawn outside of

Lebanon, which is precisely what Defendants have claimed about Plaintiffs’ USD deposits.

Nevertheless, Lebanon’s commercial banks, including Defendants, continue to solicit depositors

to make fresh deposits of “new dollars” into Lebanon under the pretense that these “new dollars,”

unlike prior deposits of USD (like Plaintiffs’), can be transferred freely in and out of Lebanon.

The banks’ claims concerning the transferability of “new dollars” is false.

       598.    Incredibly, despite the financial crisis roiling Lebanon’s banking sector and society

at large, many of the major figures and leaders of Lebanon’s banking system have not resigned or

admitted fault, nor have they acknowledged the existence of the unseemly and illegal practices

that have been carried out to perpetuate the fraud committed against Plaintiffs and many other

depositors. The utter lack of acknowledgment and culpability suggests that the leaders of

                                                 93
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 94 of 96




Lebanon’s banking system, of which Defendants are a part, are aware of the scope and nature of

the enterprise’s illegal activities, but that Lebanon’s banks, including Defendants, continue to

maintain the enterprise out of self-interest and a desire for self-enrichment.

       599.    Plaintiffs are United States citizens and Defendants’ unlawful activity injured

Plaintiffs in the United States.

       600.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to triple damages, reasonable

attorneys’ fees, and costs.

       601.    As a result of Defendants’ violations of 18 U.S.C. § 1962, Plaintiffs have suffered

and continue to suffer damages in an amount to be determined at trial, but trebled presently

believed to be in excess of $150,000,000.00.

                                   FOURTEENTH CAUSE OF ACTION

                        (Violations of the Racketeer Influenced and Corrupt
                    Organizations Act, 18 U.S.C. § 1962(d) against All Defendants)

       602.    Plaintiffs reallege and incorporate by reference the allegations set forth in

paragraphs 1 through 601 above as if fully repeated and set forth herein.

       603.    Defendants have violated and continue to violate 18 U.S.C. § 1962(d) by conspiring

to violate 18 U.S.C. § 1962(c).

       604.    Defendants intended, and acted in coordination, to solicit foreign currency deposits

into Lebanon with the goal of unlawfully keeping the deposits for Defendants’ own use, and to

leave depositors, including Plaintiffs, without any remedy to recover the foreign currency deposits.

       605.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are persons injured in their business and

property by reason of Defendants’ RICO violations under 18 U.S.C. § 1962 as alleged herein.

                                                 94
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 95 of 96




       606.    Plaintiffs are United States Citizens and Defendants unlawful activity injured

Plaintiffs in the United States.

       607.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to triple damages, reasonable

attorneys’ fees, and costs.

       608.    As a result of Defendants’ violations of 18 U.S.C. § 1962, Plaintiffs have suffered

and continue to suffer damages in an amount to be determined at trial, but trebled presently

believed to be in excess of $150,000,000.00.




                                         JURY DEMAND

       PLAINTIFFS DEMAND A TRIAL BY JURY FOR ALL ISSUES SO TRIABLE




                                   [Conclusion on following page]




                                                95
00
        Case 1:20-cv-04438-DLC Document 50 Filed 10/30/20 Page 96 of 96




                                        CONCLUSION

       WHEREFORE, Plaintiffs pray for judgment in favor of Plaintiffs and against

Defendants, jointly and severally, as follows:

       A.      Compensatory damages;

       B.      Prejudgment and post-judgment interest;

       C.      Exemplary Damages, including triple damages pursuant to Plaintiffs’ statutory
               causes of action, in an amount to be determined at trial;

       D.      Total damages in an amount to be determined at trial but presently believed to be
               well in excess of $150,000,000.00.

       E.      Attorneys’ fees and costs;

       F.      Such other and further relief as the Court deems just and appropriate.


Dated: New York, New York
       October 30, 2020
                                             MEISTER SEELIG & FEIN LLP

                                             By: /s/ Christopher J. Major
                                                     Christopher J. Major
                                                     Eva M. Sullivan
                                                     Leah Henry
                                                     Amit Shertzer
                                             125 Park Avenue, 7th Floor
                                             New York, New York 10017
                                             Tel: (212) 655-3500
                                             E-mail: cjm@msf-law.com
                                             E-mail: es@msf-law.com
                                             E-mail: lah@msf-law.com
                                             E-mail: as@msf-law.com

                                             Attorneys for Plaintiffs




                                                 96
00
